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       UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK
       - - - - - - - - - - - - - - - - - - - - x
       VIRGINIA L. GIUFFRE,

                    Plaintiff,
                                             Case No.:
            -against-                        15-cv-07433-RWS

       GHISLAINE MAXWELL,

                    Defendants.

       - - - - - - - - - - - - - - - - - - - - x

                             **CONFIDENTIAL**

                   Videotaped deposition of GHISLAINE
              MAXWELL, taken pursuant to subpoena, was
              held at the law offices of BOIES
              SCHILLER & FLEXNER, 575 Lexington
              Avenue, New York, New York, commencing
              April 22, 2016, 9:04 a.m., on the above
              date, before Leslie Fagin, a Court
              Reporter and Notary Public in the State
              of New York.

                             - - -
                   MAGNA LEGAL SERVICES
               1200 Avenue of the Americas
                New York, New York 10026




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                                        Page 18                                              Page 20
 1        G Maxwell - Confidential                    1       G Maxwell - Confidential
 2   meet Mr. Epstein?                                2     you not to answer that question. I
 3           MR. PAGLIUCA: Object to the form         3     don't have any problem with you asking
 4       and foundation.                              4     questions about what the subject matter
 5       Q. You can answer.                           5     of this lawsuit is, which would be, as
 6       A. I just explained.                         6     you've termed it, sexual trafficking of
 7       A. I spent the entire time talking to        7     Ms. Roberts.
 8   Virginia's mother outside the house so the       8         To the extent you are asking for
 9   answer to the question is no.                    9     information relating to any consensual
10       Q. No, did you not walk her up and          10     adult interaction between my client and
11   introduce her to Mr. Epstein?                   11     Mr. Epstein, I'm going to instruct her
12       A. I just said no.                          12     not to answer because it's not part of
13       Q. Did you participate in a massage         13     this litigation and it is her private
14   this first time when she first came to the      14     confidential information, not subject to
15   home and you were speaking with her mother,     15     this deposition.
16   she was in the home, is that correct, you       16         MS. McCAWLEY: You can instruct her
17   brought her into the home?                      17     not to answer. That is your right. But
18           MR. PAGLIUCA: Object to the form        18     I will bring her back for another
19       and foundation.                             19     deposition because it is part of the
20       A. I will repeat again, I was standing      20     subject matter of this litigation so she
21   outside with her mother so very difficult for   21     should be answering these questions.
22   me to do anything else at that time so no, I    22     This is civil litigation, deposition and
23   did not take her upstairs.                      23     she should be responsible for answering
24       Q. Did you participate --                   24     these questions.
25       A. Virginia lied 100 percent about          25         MR. PAGLIUCA: I disagree and you
                                        Page 19                                              Page 21
 1         G Maxwell - Confidential                   1        G Maxwell - Confidential
 2   absolutely everything that took place in that    2      understand the bounds that I put on it.
 3   first meeting. She has lied repeatedly,          3          MS. McCAWLEY: No, I don't. I will
 4   often and is just an awful fantasist. So         4      continue to ask my questions and you can
 5   very difficult for anything to take place        5      continue to make your objections.
 6   that she repeated because I was with her         6      Q. Did you ever participate from the
 7   mother the entire time.                          7   time period of 1992 to 2009, did you ever
 8       Q. So did you have -- did you give a         8   participate in a massage with Jeffrey Epstein
 9   massage with Virginia Roberts and Mr. Epstein    9   and another female?
10   during the first time Virginia Roberts was at   10          MR. PAGLIUCA: Objection. Do not
11   the West Palm Beach house?                      11      answer that question. Again, to the
12          MR. PAGLIUCA: Object to the form         12      extent you are asking for some sort of
13       and foundation.                             13      illegal activity as you've construed in
14       Q. Yes or no?                               14      connection with this case I don't have
15       A. No.                                      15      any problem with you asking that
16       Q. Have you ever given a massage with       16      question. To the extent these questions
17   Virginia Roberts in the room and Jeffrey        17      involve consensual acts between adults,
18   Epstein?                                        18      frankly, they're none of your business
19          MR. PAGLIUCA: Object to the form         19      and I will instruct the witness not to
20       and foundation.                             20      answer.
21       A. No.                                      21          MS. McCAWLEY: This case involves
22       Q. Have you ever given Jeffrey Epstein      22      sexual trafficking, sexual abuse,
23   a massage?                                      23      questions about her having interactions
24          MR. PAGLIUCA: Object to the form,        24      with other females is relevant to this
25       foundation. And I'm going to instruct       25      case. She needs to answer these




                                                                        6 (Pages 18 to 21)
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                                        Page 22                                              Page 24
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2      questions.                                    2          MR. PAGLIUCA: Object to the form
 3         MR. PAGLIUCA: I'm instructing her          3      and foundation.
 4      not to answer.                                4      A. How would I possibly know how
 5         MS. McCAWLEY: Then we will be back         5   someone is when they are at his house. You
 6      here again.                                   6   are asking me to do that. I cannot possibly
 7      Q. Have you ever given a massage to           7   testify to that. As far as I'm concerned,
 8   Mr. Epstein with a female that was under the     8   everyone who came to his house was an adult
 9   age of 18?                                       9   professional person.
10      A. Can you repeat the question?              10      Q. Are you familiar with the police
11      Q. Yes. Have you ever given a massage        11   report that was issued in respect to the
12   to Mr. Epstein with a female that was under     12   investigation in this matter?
13   the age of 18?                                  13          MR. PAGLIUCA: Object to the form
14      A. No.                                       14      and foundation.
15      Q. Have you ever observed Mr. Epstein        15      Q. Are you familiar with the police
16   having a massage given by an individual, a      16   report that was used in this matter, the
17   female, who was under the age of 18?            17   investigation of Jeffrey Epstein, has been
18      A. No.                                       18   produced as a document in this matter?
19      Q. Have you ever observed females            19      A. I have seen a police report.
20   under the age of 18 in the presence of          20          (Maxwell Exhibit 1, police report,
21   Jeffrey Epstein at his home?                    21      marked for identification.)
22         MR. PAGLIUCA: Object to the form          22      Q. The police report that you have in
23      and foundation.                              23   front of you, can you turn to page 28 of that
24      A. Again, I have friends that have           24   report, the numbers are on the top right-hand
25   children --                                     25   corner.
                                        Page 23                                              Page 25
 1         G Maxwell - Confidential                   1        G Maxwell - Confidential
 2       Q. I'm not talking about friends. I'm        2          You will see some redactions in
 3   talking about individuals --                     3   this report, Ms. Maxwell, the redacted
 4           MR. PAGLIUCA: I'm going to object        4   information is redacted because it reveals
 5       to you interrupting the witness who was      5   the name of a minor, someone who is under the
 6       answering your question. The question        6   age of 18.
 7       was, have you ever seen anyone, female       7          On page 28, in the third paragraph,
 8       under the age of 18 at the house and         8   about halfway down, it says, Roberts stated
 9       that's the question she was answering.       9   she performed the massage naked. At the
10       If you want to strike that question and     10   conclusion of this massage, Epstein paid
11       ask another question, feel free, but let    11   RobSON $200 for the massage. He explained, I
12       the witness respond, please.                12   know you are not comfortable put I will pay
13           MS. McCAWLEY: I will do that.           13   you if you bring some girls. He told her the
14       Q. Have you ever observed a female          14   younger the better. Robson stated once tried
15   under the age of 18 at Jeffrey Epstein's home   15   to bring a 23 year old to Epstein and he
16   that was not a friend, a child -- one of your   16   stated the female was too old.
17   friend's children?                              17          Have you heard Mr. Epstein use the
18       A. Again, I can't testify to that           18   phrase the younger the better?
19   because I have no idea what you are talking     19      A. I have no recollection of hearing
20   about.                                          20   that.
21       Q. You have no idea what I'm talking        21      Q. Have you used the phrase in talking
22   about in the sense you never observed a         22   to Ms. Roberts and asking her to recruit
23   female under the age of 18 at Jeffrey           23   females for Mr. Epstein, the younger the
24   Epstein's home that was not one of your         24   better?
25   friend's children, is that correct?             25          MR. PAGLIUCA: Object to the form




                                                                        7 (Pages 22 to 25)
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                                          Page 38                                              Page 40
 1         G Maxwell - Confidential                     1        G Maxwell - Confidential
 2       Q. Was she under 18 when you first met         2                               ?
 3   her?                                               3          MR. PAGLIUCA: Object to the form
 4       A. I have no idea how old she was when         4       and foundation.
 5   I first met her.                                   5       Q. Is that your testimony?
 6       Q. Did she look like a child when you          6       A. I already said I don't recall all
 7   first met her?                                     7   the times I've seen her and I have no memory
 8       A. I don't remember what she looked            8   of that.
 9   like at the time she was in the house.             9       Q. Have you ever seen                in
10
11
12
13
         Q. How many years have you known her?
         A. I can only recall the last time I
     saw her.
         Q. When was the first time you met
                                                       10
                                                       11
                                                       12
                                                       13   -
                                                            the house with Jeffrey Epstein

                                                                   MR. PAGLIUCA: Object to the form
                                                               and foundation.
14
15
16
17
18
19
     her?
         A. Again, I just told you, I don't

         Q. Did
                - -
     recall the first time I met her.

     on Jeffrey's planes?
         A. I wouldn't remember if
                                  travel with you

                                              was on
                                                       14
                                                       15
                                                       16
                                                       17
                                                       18
                                                       19
                                                             --A. I just told you I don't recall
                                                            seeing

                                                            with
                                                                          .
                                                               Q. Were you ever involved in an orgy
                                                                                ?
                                                               A. No, absolutely not.
                                                               Q. Can you tell me, do you know an
20   the plane or not.                                 20   individual by the name of Nadia Marcinkova?
21
22
23
24
25
     -   Q. Did you ever have sex with
              ?
         A. No.
                                       1111
         Q. Did you ever observe Jeffrey having
     sex with                 ?
                                          Page 39
                                                       21
                                                       22
                                                       23
                                                       24
                                                       25
                                                               A. I do.
                                                               Q. How did you meet Nadia Marcinkova?
                                                               A. At some point she was a friend of
                                                            Jeffrey's and I recall meeting her at some
                                                            point.
                                                                                               Page 41
 1       G Maxwell - Confidential                       1        G Maxwell - Confidential
 2      A. No.                                          2       Q. Did you hire her?
 3
 4
 5
 6
 7
 8
     having sexual contact with
     she was 13 years old?
                                -
        Q. Were you aware that Jeffrey was


           MR. PAGLIUCA: Object to the form
        and foundation.
        A. I would be very shocked and
                                                when
                                                        3
                                                        4
                                                        5
                                                        6
                                                        7
                                                        8
                                                                A. First of all, I don't hire girls
                                                            like that, so let's be clear, I already
                                                            testified to that, and I have no idea what
                                                            you are referring to.
                                                                Q. When you say girls like that, what
                                                            do you mean?
 9   surprised if that were true.                       9       A. I hire people who are professional
10
11
12
13
14
15
     -  Q. Were you in the house when    1111
             was in the house in a private area
     with Jeffrey Epstein?
           MR. PAGLIUCA: Object to the form
        and foundation.
        A. Can you repeat the question.
                                                       10
                                                       11
                                                       12
                                                       13
                                                       14
                                                       15
                                                            at the house. You are asking if I hired
                                                            somebody to do what, I don't know what you
                                                            are talking about. I hired people to work in
                                                            the homes.
                                                                Q. What was Nadia Marcinkova doing?
                                                                   MR. PAGLIUCA: Object to the form
16      Q. Were you ever in the Palm Beach             16       and foundation.
17
18
19
20    -
     house when Jeffrey Epstein was in the house
     with                ?
           MR. PAGLIUCA: Object to the form
        and foundation.
                                                       17
                                                       18
                                                       19
                                                       20
                                                                A. I have no idea what Nadia
                                                            Marcinkova was doing. I didn't hire her and
                                                            I don't know what you are referring to.
                                                                Q. You met Nadia Marcinkova?
21
22
23
24
25   -
     met her and that she was there

     question is asking.
        Q. So you have never seen
                                   -
        A. I've already testified that I have

              I don't understand what your
                                                       21
                                                       22
                                                       23
                                                       24
                                                       25
                                                                A. I testified I did.
                                                                Q. Did she work for Jeffrey Epstein?
                                                                A. I have no idea what she did.
                                                                Q. Have you flown on planes with Nadia
                                                            Marcinkova?




                                                                        11 (Pages 38 to 41)
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                                       Page 46                                             Page 48
 1        G Maxwell - Confidential                  1        G Maxwell - Confidential
 2      Q. Did Jeffrey arrange for a visa for       2   Jeffrey?
 3   Nadia Marcinkova?                              3          MR. PAGLIUCA: Object to the form
 4      A. I don't know what Jeffrey did. I         4       and foundation.
 5   cannot testify what Jeffrey did.               5       A. I don't know exactly the nature of
 6      Q. Was Nadia involved in sex with           6   her relationship but she worked for him.
 7   Jeffrey and other girls?                       7       Q. What did she do?
 8         MR. PAGLIUCA: Object to the form         8          MR. PAGLIUCA: Object to the form
 9      and foundation.                             9       and foundation.
10      Q. Girls under the age of 18?              10       A. At the time she when was with him I
11         MR. PAGLIUCA: Same objection.           11   believe she traveled with him and helped with
12      A. I have no idea.                         12   his travel arrangements.
13      Q. Was Nadia involved with sex with        13       Q. Did she bring girls to the house to
14   Jeffrey and girls over the age of 18?         14   give massages to Jeffrey?
15         MR. PAGLIUCA: Same objection.           15          MR. PAGLIUCA: Object to the form
16      A. I have no idea.                         16       and foundation.
17      Q. Did Nadia recruit other girls for       17       A. I don't know what Sarah did.
18   sex with Jeffrey?                             18       Q. So you never observed Sarah
19         MR. PAGLIUCA: Object to the form        19   bringing girls to the home to give massages
20      and foundation.                            20   to Jeffrey?
21      A. I have no idea.                         21          MR. PAGLIUCA: Object to the form
22      Q. Do you still talk to Nadia?             22       and foundation.
23      A. No.                                     23       A. I don't understand the question,
24      Q. Is she a pilot?                         24   what did you mean bring?
25      A. I have no idea.                         25       Q. Did you ever observe Sarah
                                       Page 47                                             Page 49
 1        G Maxwell - Confidential                  1         G Maxwell - Confidential
 2      Q. Does she fly with Larry Veseski          2   inviting, bringing, walking anyone into the
 3   (phonetic), one of Jeffrey's pilots?           3   home to give a massage for Jeffrey?
 4      A. I have no idea.                          4           MR. PAGLIUCA: Object to the form
 5      Q. Are you a pilot?                         5       and foundation.
 6      A. I am.                                    6       A. I don't recollect anything like
 7      Q. Have you flown with Jeffrey Veseki?      7   that.
 8      A. I have.                                  8       Q. Are you aware that Sarah Kellen was
 9      Q. Have you flown with Nadia                9   a co-conspirator, named as a co-conspirator
10   Marcinkova?                                   10   in the case involving Jeffrey Epstein?
11      A. What do you mean by flown?              11           MR. PAGLIUCA: Object to the form
12      Q. Have you been on planes with her?       12       and foundation and also calls for a
13      A. I already testified I don't recall      13       legal conclusion.
14   having her on a plane with me.                14           MS. McCAWLEY I'm just asking if she
15      Q. Do you know Sarah Kellen?               15       is aware of that.
16      A. I do.                                   16       A. I am aware.
17      Q. When did you first meet her?            17       Q. Who paid Sarah Kellen?
18      A. I don't recall exact dates.             18       A. I have no idea.
19      Q. Did you meet her with the purpose       19       Q. Did you ever arrange payment for
20   of hiring her to work for Jeffrey or having   20   any of the employees at the home?
21   Jeffrey hire her?                             21           MR. PAGLIUCA: Object to the form.
22          MR. PAGLIUCA: Object to the form       22       A. What do you mean by arrange?
23      and foundation.                            23       Q. Were you ever in charge or
24      A. No.                                     24   responsible for paying individuals at the
25      Q. What was her relationship with          25   home, that worked there?




                                                                    13 (Pages 46 to 49)
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                                        Page 54                                               Page 56
 1       G Maxwell - Confidential                     1        G Maxwell - Confidential
 2      A. I have.                                    2   sexual acts on her?
 3      Q. No, you haven't.                           3          MR. PAGLIUCA: Object to the form
 4      A. Yes, I have.                               4       and foundation.
 5      Q. You are refusing to answer the             5       A. I have not heard that.
 6   question.                                        6       Q. How do you know Annie Farmer?
 7      A. Let's move on.                             7       A. Annie Farmer had a sister and her
 8      Q. I'm in charge of the deposition. I         8   sister introduced Annie Farmer, I believe, to
 9   say when we move on and when we don't.           9   Jeffrey.
10         You are here to respond to my             10       Q. Was Annie Farmer under the age of
11   questions. If you are refusing to answer the    11   18?
12   court will bring you back for another           12          MR. PAGLIUCA: Object to the form
13   deposition to answer these questions.           13       and foundation.
14         Do you understand that?                   14       A. I don't recall how old Annie Farmer
15         MR. PAGLIUCA: You don't need to           15   was.
16      threaten the witness.                        16       Q. Did she tell police that Jeffrey
17         MS. McCAWLEY: I'm not threatening         17   Epstein assaulted her sexually?
18      her. I'm making sure the record is           18          MR. PAGLIUCA: Object to the form
19      clear.                                       19       and foundation.
20         MR. PAGLIUCA: Certainly can you           20       A. I never heard that.
21      apply to have someone come back and the      21       Q. Did Sarah Kellen recruit or bring
22      court may or may not have her come back      22   girls to the home that were under the age of
23      again.                                       23   18?
24         Again, she is not answering               24          MR. PAGLIUCA: Object to the form
25      questions that relate to adult consent       25       and foundation and I think this has been
                                        Page 55                                               Page 57
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2      sex acts. Period. And that's the              2      asked and answered already.
 3      instruction and we can take it up with        3      Q. You can answer the question.
 4      the court.                                    4      A. I have no idea what Sarah Kellen
 5      Q. Ms. Maxwell, are you aware of any          5   did.
 6   sexual acts with masseuses and Jeffrey           6      Q. You never observed Sarah Kellen
 7   Epstein that were nonconsensual?                 7   with girls under the age of 18 at Jeffrey's
 8      A. No.                                        8   home?
 9      Q. How do you know that?                      9          MR. PAGLIUCA: Object to the form
10      A. All the time that I have been in          10      and foundation.
11   the house I have never seen, heard, nor         11      A. The answer is no, I have no idea.
12   witnessed, nor have reported to me that any     12      Q. Do you know Glenn Dubin?
13   activities took place, that people were in      13      A. I do.
14   distress, either reported to me by the staff    14      Q. What is your relationship with
15   or anyone else. I base my answer based on       15   Glenn Dubin?
16   that.                                           16          MR. PAGLIUCA: Object to the form.
17      Q. Are you familiar with a person by         17      A. What do you mean what is my
18   the name of Annie Farmer?                       18   relationship.
19      A. I am.                                     19      Q. Are you friendly with him, how do
20      Q. Has Annie Farmer given a statement        20   you know him?
21   to police about you performing sexual acts on   21      A. He is the husband of Eva Dubin.
22   her?                                            22      Q. Is Eva Dubin one of your friends?
23      A. I have not heard that.                    23      A. Yes.
24      Q. Has Annie Farmer given a statement        24      Q. Did you ever send Virginia to
25   to police about Jeffrey Epstein performing      25   Glenn's condo at the Breakers to give him a




                                                                      15 (Pages 54 to 57)
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                                       Page 58                                             Page 60
 1        G Maxwell - Confidential                  1        G Maxwell - Confidential
 2   massage?                                       2       A. She was tasked to answer
 3         MR. PAGLIUCA: Objection to the           3   telephones.
 4      form and foundation.                        4       Q. Did you ever ask her to rub
 5      A. No.                                      5   Jeffrey's feet?
 6      Q. Did you ever instruct Virginia           6          MR. PAGLIUCA: Objection to the
 7   Roberts to have sex with Glenn?                7       form and foundation.
 8         MR. PAGLIUCA: Objection to the           8       A. I believe that I have read that,
 9      form and foundation.                        9   but I don't have any memory of it.
10      A. I have never instructed Virginia to     10       Q. Did you ever tell Johanna that she
11   have sex with anybody ever.                   11   would get extra money if she provided Jeffrey
12      Q. How old was Eva Anderson when she       12   massages?
13   met Jeffrey?                                  13       A. I was always happy to give career
14         MR. PAGLIUCA: Objection to the          14   advice to people and I think that becoming
15      form and foundation.                       15   somebody in the healthcare profession, either
16      A. I have no idea.                         16   exercise instructor or nutritionist or
17      Q. What's she under the age of 18?         17   professional massage therapist is an
18         MR. PAGLIUCA: Objection to the          18   excellent job opportunity. Hourly wages are
19      form and foundation.                       19   around 7, 8, $9 and as a professional
20      A. I just testified I have idea how        20   healthcare provider you can earn somewhere
21   old she was.                                  21   between as we have established 100 to $200
22      Q. You testified she was your friend.      22   and to be able to travel and have a job that
23   You don't know how old she was when she met   23   pays that is a wonderful job opportunity. So
24   Jeffrey?                                      24   in the context of advising people for
25      A. That happened sometime in the '70s,     25   opportunities for work, it is possible that I
                                       Page 59                                             Page 61
 1       G Maxwell - Confidential                   1        G Maxwell - Confidential
 2   how would I know, or '80s. I have no idea.     2   would have said that she should explore that
 3   Can you testify to what your friends did 30    3   as an option.
 4   years ago?                                     4      Q. Did you tell her she would get
 5      Q. You don't ask the questions here,        5   extra money if she massaged Jeffrey?
 6   Ms. Maxwell.                                   6      A. I'm just saying, I cannot recall
 7          What about Johanna Sjoberg, when        7   the exact conversation. I give career advice
 8   did you first meet Johanna?                    8   and I have done that.
 9      A. I don't recall the exact date.           9      Q. Did you ever have Johanna massage
10      Q. Did you hire Johanna?                   10   you?
11      A. I don't hire people, she came to        11      A. I did.
12   work at the house to answer phones.           12      Q. How many times?
13      Q. Where did you meet her?                 13      A. I don't recall how many times.
14      A. I just testified, I don't recall        14      Q. Was there sex involved?
15   exactly when I met her.                       15      A. No.
16      Q. Was one of your job                     16      Q. Did you ever instruct Johanna to
17   responsibilities to interview people that     17   massage Glenn Dubin?
18   would be then hired by Jeffrey?               18      A. I don't believe -- I have no
19      A. That was one of my                      19   recollection of it.
20   responsibilities.                             20      Q. Did you ever have sexual contact
21      Q. Do you recall interviewing Johanna?     21   with Johanna?
22      A. I don't recall the exact interview,     22          MR. PAGLIUCA: Object to the form
23   no.                                           23      and foundation. You need to give me an
24      Q. Do you know what tasks Johanna was      24      opportunity to get in between the
25   hired to performance?                         25      questions.




                                                                    16 (Pages 58 to 61)
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                                        Page 62                                              Page 64
 1       G Maxwell - Confidential                     1        G Maxwell - Confidential
 2         Anything that involves consensual          2      Q. Did you have sex with her?
 3      sex on your part, I'm instructing you         3         MR. PAGLIUCA: This is the same
 4      not to answer.                                4      instruction about consensual or
 5      Q. Did you ever have sexual contact           5      nonconsensual.
 6   with Johanna?                                    6      Q. Was Emmy under the age of 18 when
 7      A. Again, she is an adult --                  7   you hired her?
 8      Q. I'm asking you, did you ever have          8      A. No. I didn't hire her, as I said,
 9   sexual contact with Johanna?                     9   Jeffrey did.
10      A. I've just been instructed not to          10      Q. Did Emmy ever have sex with
11   answer.                                         11   Jeffrey?
12      Q. On what basis?                            12         MR. PAGLIUCA: Objection to the
13      A. You have to ask my lawyer.                13      form and foundation.
14      Q. Did you ever have sexual contact          14      A. How would I know what somebody else
15   with Johanna that was not consensual on         15   did.
16   Johanna's part?                                 16      Q. You weren't involved in the sex
17         MR. PAGLIUCA: You can answer              17   between Jeffrey, Emmy and yourself?
18      nonconsensual.                               18      A. We already --
19      A. I've never had nonconsensual sex          19      Q. Were you involved with sex between
20   with anybody.                                   20   Jeffrey, Emmy and yourself?
21      Q. Not Annie Farmer?                         21         MR. PAGLIUCA: Everyone is talking
22         MR. PAGLIUCA: Objection.                  22      over each other. You heard the
23      A. I just testified I never had              23      question.
24   nonconsensual sex with anybody ever, at any     24         Again, you you know what the
25   time, at anyplace, at any time, with anybody.   25      instruction is. If there is any
                                        Page 63                                              Page 65
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2      Q. So if Johanna were to testify that         2      consensual issue involved, I instruct
 3   she did not consent to a sexual act that you     3      you not to answer.
 4   participated in --                               4      A. Moving on.
 5      A. I just told you I have never ever          5      Q. So you are refusing to answer that
 6   under any circumstances with anybody, at any     6   question?
 7   time, in anyplace, in any form had               7      A. I've been instructed by my lawyer.
 8   nonconsensual relations with anybody.            8      Q. Did you ever have sex with Jeffrey,
 9      Q. Did you introduce Johanna to Prince        9   Emmy, Virginia and yourself when Virginia was
10   Andrew?                                         10   underage?
11          MR. PAGLIUCA: Objection to the           11      A. Absolutely not.
12      form and foundation.                         12          MR. PAGLIUCA: We've been going for
13      A. I've, again, read that Johanna            13      about an hour. I would like to take a
14   claimed that she met or that she said she met   14      five-minute break, please.
15   Prince Andrew. I don't know if I was the one    15          MS. McCAWLEY: I'm almost done.
16   who made the introduction or not.               16          MR. PAGLIUCA: You are not going to
17      Q. Do you know a female by the name of       17      allow a break.
18   Emmy Taylor?                                    18          MS. McCAWLEY: As soon as I get
19      A. I do.                                     19      through my line of questioning, which is
20      Q. How do you know her?                      20      perfectly appropriate.
21      A. Emmy was my assistant.                    21      Q. Did Emmy Taylor travel with you and
22      Q. So she worked for you?                    22   Jeffrey to Europe?
23      A. Yes.                                      23      A. I'm sure she did.
24      Q. Did you hire her?                         24      Q. What is she doing today?
25      A. Again, Jeffrey hired people.              25      A. I have no idea.




                                                                      17 (Pages 62 to 65)
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                                        Page 78                                             Page 80
 1         G Maxwell - Confidential                   1         G Maxwell - Confidential
 2   over to the house in Palm Beach to give          2   all, except for this story.
 3   massages?                                        3       Q. Do you recall Virginia Roberts
 4       A. It's important to understand that I       4   calling you because she was having a medical
 5   wasn't with Jeffrey all the time. In fact, I     5   crisis and you and Jeffrey taking her to the
 6   was only in the house less than half the         6   hospital?
 7   time, so I cannot testify to when I wasn't in    7       A. I have heard this absurd story and
 8   the house how often she came when I wasn't       8   if any part of it were true I would remember
 9   there.                                           9   that. I do not.
10          What I can say is that I barely          10       Q. You don't remember taking her to
11   would remember her, if not for all of this      11   the hospital?
12   rubbish, I probably wouldn't remember her at    12       A. It's not that I don't remember it,
13   all, except she did come from time to time      13   it didn't happen.
14   but I don't recollect her coming as often as    14       Q. How do you know it didn't happen?
15   she portrayed herself.                          15       A. That's the sort of memory you would
16       Q. How many times a day on an average       16   recall.
17   day would Jeffrey Epstein get a massage?        17       Q. Do you recall, you said you don't
18          MR. PAGLIUCA: Objection to the           18   remember her being at the New York mansion.
19       form and foundation.                        19   When you were in New York would you stay at
20       A. When I was at the house and when I       20   the New York mansion with Jeffrey?
21   was there with him, he received a massage, on   21       A. I stayed from time to time.
22   average, about once a day.                      22       Q. Do you recall Virginia being at the
23       Q. Just once?                               23   New York mansion when Prince Andrew came to
24       A. Yes.                                     24   visit?
25       Q. Were there days when he received         25           MR. PAGLIUCA: Objection to the
                                        Page 79                                             Page 81
 1        G Maxwell - Confidential                    1       G Maxwell - Confidential
 2   four or five?                                    2      form and foundation.
 3          MR. PAGLIUCA: Objection to the            3      A. Like I told you, I don't recall her
 4       form and foundation.                         4   being at the house at all.
 5       A. When I was present at the house, I        5      Q. How many homes does Jeffrey have?
 6   never saw something like that.                   6          MR. PAGLIUCA: Objection to the
 7       Q. Do you know if Virginia was               7      form and foundation.
 8   required to be on call at all times to come      8      A. When I was working for him, I think
 9   to the house if Jeffrey wanted her there?        9   he had six maybe.
10          MR. PAGLIUCA: Objection to the           10      Q. Would Virginia stay with him in
11       form and foundation.                        11   those homes?
12       A. I have no idea of the arrangements       12          MR. PAGLIUCA: Objection to the
13   that Virginia made with Jeffrey.                13      form and foundation.
14       Q. When Virginia was in New York,           14      A. I can only testify for when I was
15   would Virginia sleep at Jeffrey's mansion in    15   present with him and I cannot say what she
16   New York?                                       16   did when I wasn't present with him.
17          MR. PAGLIUCA: Objection to the           17      Q. When you were present, would
18       form and foundation.                        18   Virginia stay in the homes with him?
19       A. I don't recollect her being in New       19      A. I don't recall her staying in the
20   York and I have no idea where she slept.        20   houses.
21       Q. You don't ever remember seeing           21      Q. Did you train Virginia on how to
22   Virginia Roberts in New York?                   22   recruit other girls for massages?
23          MR. PAGLIUCA: Objection to the           23          MR. PAGLIUCA: Objection to the
24       form and foundation.                        24      form and foundation.
25       A. I would barely recollect her at          25      A. No.




                                                                      21 (Pages 78 to 81)
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                                        Page 82                                              Page 84
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2      Q. Did you train Virginia on how to           2   30 girls --
 3   recruit other girls to perform sexual            3       A. I did not count the number of girls
 4   massages?                                        4   and I did read the police report. I can only
 5          MR. PAGLIUCA: Objection to the            5   testify to what I read.
 6      form and foundation.                          6       Q. So you are aware that the police
 7      A. No. And it's absurd and her entire         7   report contains reports from 30 underage
 8   story is one giant tissue of lies and            8   girls?
 9   furthermore, she herself has -- if she says      9       A. I can't testify to what the girls
10   that, you have to ask her about what she did.   10   said. I can only testify to the fact that I
11      Q. Does Jeffrey like to have his             11   read a police report that stated that.
12   nipples pinched during sexual encounters?       12       Q. Were you working for Jeffrey -- you
13          MR. PAGLIUCA: Objection to form          13   said you worked for him off an on until 2009,
14      and foundation.                              14   is that correct?
15      A. I'm not referring to any advice on        15       A. I helped out from time to time.
16   my counsel. I'm not talking about any adult     16       Q. So you were working with him during
17   sexual things when I was with him.              17   the time period when these underage girls
18      Q. When Jeffrey would have a massage,        18   were visiting Jeffrey's home?
19   would he request that the masseuse pinch his    19          MR. PAGLIUCA: Objection to the
20   nipples while he was having a massage?          20       form and foundation.
21      A. I'm not talking about anything with       21       A. I was not -- what year, I need
22   consensual adult situation.                     22   years.
23      Q. What about with underage --               23       Q. How about let's say 2005?
24      A. I am not aware of anything.               24       A. I'm not sure I was at the house at
25      Q. You are not aware of Jeffrey              25   all in 2005, maybe one day, maybe.
                                        Page 83                                              Page 85
 1         G Maxwell - Confidential                   1        G Maxwell - Confidential
 2   Epstein ever having sex with an underage         2       Q. How about 2004?
 3   minor and asking them to pinch his nipples?      3       A. I was present for his mother's --
 4       A. I am not.                                 4   his mother died in 2004 so I was there for
 5       Q. So I'm going to direct you to, I          5   his mother's death and the funeral and I was
 6   believe it's Maxwell Exhibit 1, the police       6   at the house maybe a handful of days, again.
 7   report.                                          7       Q. I would like to direct you to, you
 8           Are you aware that over 30 under         8   have it pulled together now, it's page 39,
 9   age minors gave testimony to police that they    9   Bates stamped Giuffre 00040?
10   were engaged in sexual acts during,             10       A. Can you repeat that, please.
11   quote-unquote, massages.                        11       Q. Sure. 00040.
12           MR. PAGLIUCA: The witness needs to      12       A. Yes.
13       find Exhibit 1. Exhibit 1 -- if you can     13       Q. At the top of that document, about
14       hand me that please.                        14   three lines down, you see the redacted
15       Q. So now with respect to the police        15   portions where there is black so it blacks
16   report, are you aware that over 30 underage     16   out the name.
17   girls, meaning under the age of 18 gave         17       A. I see black redacted portions.
18   reports to police that they were assaulted      18       Q. That's a black redaction of the
19   sexually by Jeffrey Epstein during massages?    19   name of the minor and there is -- I will
20           MR. PAGLIUCA: Objection to the          20   represent for the record that's what it is.
21       form and foundation.                        21   You can contest that but I'm not asking about
22       A. I read the police report. That's         22   the name of the minor.
23   all I can testify to.                           23          Five lines down, it says, She was
24       Q. Are you aware of what is in the          24   just 16 years of age.
25   police report? Are you aware that there were    25          Do you see that?




                                                                      22 (Pages 82 to 85)
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                                         Page 94                                             Page 96
 1         G Maxwell - Confidential                   1        G Maxwell - Confidential
 2       Q. I'm asking the questions. I know          2   testify to actual language.
 3   what this case is about. I'm trying to -- I      3      Q. So you won't testify to anything
 4   will ask you questions if you don't              4   I'm asking you 17 years ago about a statement
 5   understand the question I can break it down      5   you made. How do you know it's 17 years ago?
 6   for you. I'm happy to do that.                   6      A. We are talking about a time in
 7       A. Break it down a lot please.               7   2000, right?
 8       Q. I will do that.                           8      Q. Have you ever said that to anybody?
 9           The question is, have you ever said      9      A. I'm 54 years old so you are asking
10   to anybody that you recruit other girls --      10   me in my entire life, what words are you
11       A. Why don't you stop there.                11   asking me in my entire life?
12       Q. Let me finish my question.               12      Q. Your entire life is limited by the
13           Have you ever said to anybody that      13   time you were with Jeffrey, this is the
14   you recruit girls to take the pressure off      14   question.
15   you, so you won't have to have sex with         15      A. Let's time limit the question you
16   Jeffrey, have you said that?                    16   are asking me.
17           That's the question?                    17      Q. So from, let's say, I think you
18       A. You don't ask me questions like          18   said you started with him in 1992, is that
19   that. First of all, you are trying to trap      19   correct, and finished with him in 2009.
20   me, I will not be trapped. You are asking me    20          So from 1992 to 2009 have you ever
21   if I recruit, I told you no. Girls meaning      21   said to anybody that you recruit other and we
22   underage, I already said I don't do that with   22   will start with girls to take the pressure
23   underage people and as to ask me about a        23   off you to have sex with Jeffrey?
24   specific conversation I had with language, we   24          MR. PAGLIUCA: Objection to the
25   talking about almost 17 years ago when this     25      form and foundation.
                                         Page 95                                             Page 97
 1        G Maxwell - Confidential                    1       G Maxwell - Confidential
 2   took place. I cannot testify to an actual        2      A. First of all I resent and despise
 3   conversation or language that I used with        3   the world recruit. Would you like to define
 4   anybody at any time.                             4   what you mean by recruit and by girls, you
 5       Q. Have you ever said to anybody that        5   mean underage people. I never had to do
 6   you recruit other females over the age of 18     6   anything with underage people. So why don't
 7   to take the pressure off you to having to        7   you reask the question in a way that I am
 8   have sex with Jeffrey?                           8   able to answer it.
 9       A. I totally resent and find it              9      Q. I'm asking if you ever said that to
10   disgusting that you use the word recruit. I     10   anybody. So if you don't understand the word
11   already told you I don't know what you are      11   recruit and you never used that word then the
12   saying about that and your implication is       12   answer to that question would be no.
13   repulsive.                                      13      A. I have no memory as I sit here
14       Q. Answer my question.                      14   today having used that word.
15       A. I just did.                              15      Q. Did you ever meet an underage girl
16       Q. Have you ever said to anybody that       16   in London to introduce her to Jeffrey to
17   you recruit females --                          17   provide him with a massage?
18       A. I don't recruit anybody.                 18          MR. PAGLIUCA: Objection to the
19       Q. That's an answer. So you never           19      form and foundation.
20   said that?                                      20      A. Run that past me one more time.
21       A. I'm testifying that I cannot             21      Q. Did you ever meet an underage girl
22   testify to an actual language --                22   in London to introduce her to Jeffrey to
23       Q. It's a yes or no.                        23   perform a massage?
24       A. I will not testify to an actual          24          MR. PAGLIUCA: Same objection.
25   statement made 17 years ago, so I cannot        25      A. Are you asking me if I met anybody




                                                                      25 (Pages 94 to 97)
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                                        Page 98                                            Page 100
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   that was underage in London specifically to      2      form and foundation.
 3   provide a massage to Jeffrey, is that your       3      A. I already testified about not
 4   question?                                        4   knowing about underage girls.
 5      Q. Yes.                                       5      Q. Did you provide any assistance with
 6      A. No.                                        6   obtaining visas for foreign girls that were
 7      Q. Do you know who Alexander Dixon is?        7   under the age of 18?
 8      A. I don't recall her right now.              8      A. I've never participated in helping
 9      Q. Do you know if -- strike that.             9   people of any age to get visas.
10          During the time that you were            10      Q. Did Jeffrey, was it Jeffrey's
11   working for Jeffrey, did you ever observe any   11   preference to start a massage with sex?
12   foreign females, so in other words, not from    12          MR. PAGLIUCA: Objection to the
13   the United States, that were brought to         13      form and foundation.
14   Jeffrey's home to perform massages?             14      A. I think you should ask that
15          MR. PAGLIUCA: Objection to the           15   question of Jeffrey.
16      form and foundation.                         16      Q. Do you know?
17      A. Females, what age are we talking?         17      A. I don't believe that was his
18      Q. Any age.                                  18   preference. I think -- you have to
19      A. Can you repeat the question?              19   understand, a massage -- perhaps you are not
20      Q. During the time you were working          20   really familiar with what massage is.
21   for Jeffrey, did you ever observe any foreign   21      Q. I am, I don't need a lecture on
22   females of any age that were at Jeffrey's       22   massage.
23   home to perform a massage?                      23      A. I think you do.
24          MR. PAGLIUCA: Objection to the           24          MR. PAGLIUCA: No question pending.
25      form and foundation.                         25      She will ask you another question now.
                                        Page 99                                            Page 101
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2       A. Are you asking me if any foreigner,       2      A. Massage is for health benefits.
 3   not an American person, gave Jeffrey a           3      Q. When did you first meet Jeffrey?
 4   massage?                                         4      A. Some point in 1991.
 5       Q. Yes.                                      5      Q. And did Jeffrey know your father?
 6       A. Well, as I sit here today, I can't        6      A. No.
 7   think of anyone who is foreign. Certainly --     7      Q. How were you introduced to Jeffrey?
 8   I just can't think of anybody right this         8      A. Some friend introduced us.
 9   second.                                          9      Q. Can you describe your relationship
10       Q. How about any foreign girls who          10   back in 1991, was it friendship or was it
11   were under the age of 18?                       11   girlfriend relationship or was it a work
12       A. I already testified to not knowing       12   relationship, what was your relationship in
13   anything about underage girls.                  13   1991?
14       Q. Were there foreign girls who were        14      A. It was just friendly.
15   brought to Jeffrey's home by Jean Luc Brunel    15      Q. Then I believe you testified you
16   for the purposes of providing massages?         16   began working for him in 1992, is that
17          MR. PAGLIUCA: Objection to the           17   correct?
18       form and foundation.                        18      A. Yes.
19       A. I am not aware of Jean Luc bringing      19      Q. In 1992 I know you gave me the
20   girls. I have not no idea what you are          20   description of the work that you were
21   talking about.                                  21   performing for him, how much was he paying
22       Q. You have never been around foreign       22   you, do you remember?
23   girls who are under the age of 18 at            23      A. I don't recall.
24   Jeffrey's homes?                                24      Q. Do you know for example in 2001 how
25          MR. PAGLIUCA: Objection to the           25   much he was paying you?




                                                                    26 (Pages 98 to 101)
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                                       Page 102                                              Page 104
 1         G Maxwell - Confidential                   1         G Maxwell - Confidential
 2       A. I don't recall.                           2   worked for it and I had a loan, we did loans.
 3       Q. Did it change over the years or did       3       Q. So a loan through Jeffrey?
 4   the payment remain the same?                     4       A. I don't recall the exact
 5       A. I believe over the course of time         5   transaction.
 6   it increased a little bit.                       6       Q. Did he purchase for you a
 7       Q. Was that the -- was that payment          7   helicopter during the time you were working
 8   the payment that -- was the payment made with    8   for him?
 9   respect to the jobs, the work you were           9       A. It was his helicopter.
10   performing for Jeffrey, was that your sole      10       Q. When did you obtain your pilot
11   income at that time?                            11   license?
12            MR. PAGLIUCA: I object to the          12       A. I believe it was '98 or '99.
13       form. I'm also going to instruct you        13       Q. Was that for both airplanes and
14       not to answer about sources of -- your      14   helicopters or just helicopters?
15       personal sources of income outside of       15       A. Just helicopters.
16       Mr. Epstein at all.                         16       Q. Have you ever flown President
17            MS. McCAWLEY: What's the basis for     17   Clinton on your helicopter?
18       that?                                       18       A. That is another one of Virginia's
19            MR. PAGLIUCA: It's confidential,       19   lies.
20       it's not part of this lawsuit.              20       Q. The question is have you ever done
21            MS. McCAWLEY: We have a protective     21   that?
22       order and it is part of this lawsuit        22       A. I have never flown President
23       with respect to our damage claims.          23   Clinton at any time ever, in any helicopter,
24            MR. PAGLIUCA: It's not and, in         24   in any place, any time, in any state, in any
25       fact, you are not entitled to ask           25   country, at any time anywhere.
                                       Page 103                                              Page 105
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2      financial information of a defendant in       2      Q. Have you ever had dinner with
 3      this kind of case, in a defamation case       3   President Clinton at Jeffrey's home, at any
 4      unless and until there is a finding that      4   of Jeffrey's homes?
 5      you are entitled to punitive damages.         5      A. No, I don't believe so.
 6      That is clear in New York case law, both      6      Q. Have you traveled on Jeffrey's
 7      state and Federal.                            7   planes with President Clinton?
 8         MS. McCAWLEY: We disagree on that          8      A. Yes, I have.
 9      point and we will come back to that.          9      Q. Would that have been in 2002?
10      Q. From the source of payment from the       10      A. It's very hard for me to recollect
11   source of Jeffrey, from your work, can you      11   exact dates but that sounds about right.
12   give me a range on that, do you know was it     12      Q. Was that during the time that
13   over $100,000?                                  13   Virginia was working for Jeffrey?
14      A. I just testified I don't recall.          14      A. I don't know that Virginia ever did
15      Q. You don't don't know if it was            15   work for Jeffrey. I don't exactly know if
16   $500,000?                                       16   she testified to her so-called duties, we
17      A. It was less than that.                    17   know she is a serial liar so I can't testify
18      Q. Somewhere between 100 and 500,            18   to what she did or didn't do. So I object to
19   would that be fair to say?                      19   that characterization of her. So repeat the
20      A. I believe it was between 100 and          20   question, please.
21   $200,000.                                       21      Q. Can you read the question back?
22      Q. Did Jeffrey during the time that          22          (Record read.)
23   you were working for him purchase a town home   23      Q. You can answer the question.
24   for you?                                        24      A. What was the question again?
25      A. The subject of the townhouse is, I        25      Q. When you were traveling on the




                                                                   27 (Pages 102 to 105)
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                                      Page 106                                              Page 108
 1         G Maxwell - Confidential                   1        G Maxwell - Confidential
 2   plane with President Clinton, was that during    2   that he may have met socially through me.
 3   the time, it was 2002, that you were on a        3       Q. Did you ever introduce Prince
 4   flight with Clinton, was that during the time    4   Andrew to Virginia in London?
 5   Virginia was working for Jeffrey?                5       A. I understand her story about London
 6           MR. PAGLIUCA: Object to the form.        6   but again, her tissue of lies is extremely
 7       Misstates the witness' answer and if you     7   hard to pick apart what is true and what
 8       can answer the question, you can answer      8   isn't. Actually I wouldn't recollect her at
 9       it.                                          9   all but for her tissue stories about this
10       A. Well, like I said, I don't recall        10   situation.
11   exactly when I flew with him. I don't recall    11       Q. So did you ever introduce Prince
12   when Virginia, we know what Virginia claims     12   Andrew to Virginia in London?
13   when she left, so I can't answer the            13       A. I have no recollection.
14   question. I have no idea.                       14       Q. Did Virginia ever stay at your home
15       Q. Do you know Prince Andrew?               15   in London, your town home?
16       A. I do.                                    16       A. I know she claims she did but if
17       Q. How long have you known him?             17   you are asking me here today to remember
18       A. A very long time.                        18   specifically, I cannot.
19       Q. Since you were a child?                  19       Q. Do you remember taking a trip with
20       A. I really -- it's so long, it's           20   Virginia to travel over to Europe, including
21   really a long time ago. I just don't recall.    21   London?
22       Q. Do you remember how you first met        22       A. So I have seen her reports and I
23   him?                                            23   have seen the plane reports. I see she says
24       A. No, I do not.                            24   she was on that but again, I really have no
25       Q. Did you introduce him to Jeffrey?        25   recollection of her.
                                      Page 107                                              Page 109
 1        G Maxwell - Confidential                    1         G Maxwell - Confidential
 2       A. That would be another of Virginia's       2       Q. Did you know that she was 17 at the
 3   lies and the lies you perpetrate. I never        3   time of that trip?
 4   introduced Prince Andrew to Jeffrey Epstein      4          MR. PAGLIUCA: Objection to the
 5   at any time ever, so just add that the to        5       form and foundation.
 6   long list of lies.                               6       A. I have --
 7       Q. Did Jeffrey know Prince Andrew?           7       Q. Did you know she was 17 at the time
 8       A. Clearly he knew him. I think we           8   of that trip?
 9   have that answer but how -- yeah.                9          MR. PAGLIUCA: Objection to the
10       Q. Do you know how Jeffery met Prince       10       form and foundation.
11   Andrew?                                         11       A. I didn't even know she was on the
12       A. I do not know Jeffrey met Prince         12   trip.
13   Andrew. What I do know is that I did not        13       Q. Did you hold her passport for her
14   introduce them. That is one of the many         14   when she was traveling?
15   lies. Are we tallying all the lies?             15          MR. PAGLIUCA: Objection to the
16       Q. Do you know when Jeffrey met Prince      16       form and foundation.
17   Andrew?                                         17       A. I have no recollection whatsoever
18       A. I do not know when Jeffrey met           18   of her even being on the trip nor holding her
19   Prince Andrew.                                  19   passport.
20       Q. Did you ever introduce Prince            20          (Maxwell Exhibit 4, picture, marked
21   Andrew to any girls under the age of 18 who     21       for identification.)
22   were not friends of yours children?             22       Q. I'm showing you what we marked as
23       A. I have not introduced Prince Andrew      23   Maxwell Exhibit 4.
24   to anyone that I am aware of other than         24          Can you take a look at that picture
25   friends of mine who have kids under that age    25   for me?




                                                                   28 (Pages 106 to 109)
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                                      Page 110                                              Page 112
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2      A. I've looked at it.                         2      A. No, I don't.
 3      Q. Are you in that picture?                   3      Q. Where in your town home -- we will
 4      A. I am.                                      4   come back to that.
 5      Q. Is that Prince Andrew in the               5         Do you have guest bedrooms in your
 6   picture as well?                                 6   town home in London?
 7      A. It is.                                     7      A. I do.
 8          MR. PAGLIUCA: I don't believe this        8      Q. How many?
 9      has been produced to us in discovery by       9      A. Two.
10      you.                                         10      Q. Did Prince Andrew ever visit
11          MS. McCAWLEY: The picture?               11   Jeffrey and you in New York?
12          MR. PAGLIUCA: Yes.                       12      A. Yes.
13          MS. McCAWLEY: It has.                    13      Q. Do you remember him visiting you
14          MS. MENNINGER: Is it the same            14   and Jeffrey in New York in the spring of
15      exact photograph.                            15   2001?
16          MS. McCAWLEY: I believe so. We           16      A. Again, I can't testify to any
17      will find one. The picture has been          17   specific dates.
18      produced a number of times.                  18      Q. So you don't have a recollection of
19          MR. PAGLIUCA: I've seen different        19   that?
20      iterations of this, I don't believe I        20      A. I have a recollection -- you've
21      have ever seen this.                         21   asked me if I have a recollection of being in
22          MS. McCAWLEY: We had them blow it        22   New York but if you are asking for a date, I
23      up on a page so she could see it. We         23   cannot confirm that date.
24      could use an article.                        24      Q. Do you remember Prince Andrew being
25          While you are looking for that, I        25   present in New York for a party where Johanna
                                      Page 111                                              Page 113
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2      will skip ahead. Hold that until we can       2   Sjoberg was also present?
 3      find one that has the Bates range on it.      3      A. I don't recollect.
 4      Q. Do you recall Virginia being at            4      Q. Do you recall ever giving Prince
 5   your London town home?                           5   Andrew a gift of a puppet that was in the
 6      A. I do not.                                  6   same -- that looked like him?
 7      Q. Do you recall going to dinner with         7      A. I never gave him a gift of a
 8   Prince Andrew, Jeffrey Epstein and Virginia      8   puppet.
 9   Roberts in London, at any time?                  9      Q. Did Jeffrey ever give him a gift of
10      A. I do not.                                 10   a puppet?
11      Q. Do you recall going to a place            11      A. No, not that I am aware of.
12   called Club Tramp with Prince Andrew, Jeffrey   12      Q. Have you ever given him any gifts?
13   Epstein and yourself and Virginia Roberts?      13         MR. PAGLIUCA: Objection,
14      A. I would just like to state for the        14      foundation.
15   record that Prince Andrew is a very famous      15      A. I know Andrew --
16   person, I know you are aware because you like   16      Q. Have you ever given him any gifts
17   to use him so often in your press stories --    17   that you remember when he came to Jeffrey's
18   please let me finish. Were he at Tramp, at      18   home in New York?
19   any time, that would be reported by the         19      A. I don't recall giving him any gifts
20   press. I do not have any recollection of it     20   in New York.
21   and I doubt it actually happened.               21         (Maxwell Exhibit 5, picture, marked
22      Q. You don't recall that.                    22      for identification.)
23          Do you recall taking Virginia            23      Q. I think I directed you to page
24   shopping when you were in London to buy an      24   0034.
25   outfit to meet Prince Andrew?                   25         Is that a picture that was taken at




                                                                   29 (Pages 110 to 113)
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                                       Page 114                                            Page 116
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   your London town home?                           2       Q. Were you present on the island when
 3      A. I have no idea what this picture           3   Prince Andrew visited?
 4   was taken. I know what she purports it to be     4       A. Yes.
 5   but I'm not going to say that I do.              5       Q. How many times?
 6      Q. Do the surroundings look like your         6       A. I can only remember once.
 7   London town home?                                7       Q. Were there any girls under the age
 8      A. They are familiar.                         8   of 18 on the island during that one visit
 9      Q. Do you know who took this picture?         9   that you remember that were not family or
10      A. I do not.                                 10   friends of or daughters of your friends?
11      Q. Did Jeffrey Epstein take the              11           MR. PAGLIUCA: Objection to the
12   picture?                                        12       form and foundation.
13      A. I just testified I don't know who         13       A. There were no girls on the island
14   took the picture.                               14   at all. No girls, no women, other than the
15      Q. So you don't know if Jeffery              15   staff who work at the house. Girls meaning,
16   Epstein took the picture?                       16   I assume you are asking underage, but there
17      A. When I tell you I don't know who          17   was nobody female outside of the cooks and
18   took the picture, it doesn't mean him -- I      18   the cleaners.
19   don't know who took the picture. You can        19       Q. Did you, as part of your duties in
20   come up with 50 names, I still do not know      20   working for Jeffrey, ever arrange for
21   who took the picture.                           21   Virginia to have sex with John Luc Brunel?
22      Q. Did you observe Prince Andrew go          22           MR. PAGLIUCA: Objection to the
23   into a room with Virginia alone in your town    23       form and foundation.
24   home?                                           24       A. Just for the record, I have never
25      A. I cannot recall. As I have said,          25   at any time, at anyplace, in any moment ever
                                       Page 115                                            Page 117
 1         G Maxwell - Confidential                   1        G Maxwell - Confidential
 2   no.                                              2   asked Virginia Roberts or whatever she is
 3       Q. Did Prince Andrew ever tell you           3   called now to have sex with anybody.
 4   that he had sex with Virginia Roberts?           4      Q. Did you ever provide Virginia
 5       A. He did not.                               5   Roberts with an outfit, an outfit of a sexual
 6       Q. Did Jeffrey Epstein ever tell you         6   nature to wear for Les Wexner?
 7   that Prince Andrew had sex with Virginia         7           MR. PAGLIUCA: Objection to the
 8   Roberts?                                         8      form and foundation.
 9       A. He did not.                               9      A. I think we addressed the outfit
10       Q. Did Prince Andrew ever visit -- let      10   issue.
11   me back up for a moment. We talked about        11      Q. I am asking you if you ever
12   Jeffrey's homes, did Jeffrey have a home in     12   provided her with an outfit of a sexual
13   the U.S. Virgin islands called Little St.       13   nature to wear for Les Wexner?
14   James?                                          14      A. Categorically no. You did get
15       A. Yes.                                     15   that, I said categorically no
16       Q. Did Prince Andrew ever visit that        16      Q. Don't worry I'm paying attention.
17   island -- are you aware of Prince Andrew ever   17      A. You seemed very distracted in that
18   visiting Jeffrey's island?                      18   moment.
19       A. I am aware of that, yes.                 19           (Maxwell Exhibit 6, flight logs,
20       Q. Do you know how many times he            20      marked for identification.)
21   visited?                                        21      A. Do you mind if I take a break for
22       A. I do not.                                22   the bathroom.
23       Q. Do you know if he visited when           23      Q. It's 11:08 and we are going to go
24   Virginia was on the island?                     24   off the record now.
25       A. I do not.                                25           THE VIDEOGRAPHER: It's now 11:09.




                                                                   30 (Pages 114 to 117)
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                                       Page 146                                               Page 148
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   one of his planes?                               2   excerpts from -- we will identify what they
 3       A. There was a bed on one of his             3   are but from the message pads.
 4   planes that folded out, yes.                     4          Did you want to correct anything?
 5       Q. Do you recall whether with respect        5       A. I want to make an addendum.
 6   to this being in Santa Fe, do you recall         6          Would you mind rereading the last
 7   whether you were there for some form of a        7   question back to me?
 8   party?                                           8          (Record read.)
 9          MR. PAGLIUCA: Objection to the            9       A. I also just want to say that at
10       form and foundation.                        10   this point I cannot recollect flying to
11       A. I don't recall the trip at all and       11   parties. Jeffrey went for work so -- was
12   this looks like a total work trip, not a        12   this in Santa Fe, this flight as well.
13   party trip.                                     13       Q. The flight we were looking at, yes
14       Q. What would be the difference             14   but it was to Santa Fe --
15   between a work trip and a party trip?           15       A. I don't recall going to any parties
16       A. Just that I would be on trips for        16   in Santa Fe at any time but certainly flying
17   work and I believe that this looks like, AP     17   to Santa Fe for a party seems highly
18   looks like it's one of the -- probably one of   18   improbable.
19   the designers and the time would meet with a    19       Q. So I'm going to direct your
20
21
22
23
24
25
     trip to decorate the house, just the timing
     of it.
         Q. So would Virginia be brought on
     trips that were for the purpose of work and
     decorating the house?
         A. Like I said, I never worked with
                                                     20
                                                     21
                                                     22
                                                     23
                                                     24
                                                     25
                                                          you which is Bates number
                                                                                      -
                                                          attention to the document that I set before

                                                          has different Bates numbers because it's a
                                                          smaller version of the larger production.
                                                                                                    and it


                                                          These are the pages I will be asking about.
                                                                 In the time that you were working
                                       Page 147                                               Page 149
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   her but you would have to ask Jeffrey what he    2   with Jeffrey in Palm Beach, do you recall a
 3   brought her on the trip for.                     3   process for taking, anybody at the house
 4       Q. But she would travel with him when        4   taking messages when incoming phone calls
 5   there was a work trip like this?                 5   came in?
 6       A. I can't -- I'm seeing that she is         6       A. You are supposed to take a message
 7   on this flight but I have no idea what she is    7   and receive the message and write the message
 8   doing, he invited her, it would not be my        8   down. Who was the message was for, what time
 9   job.                                             9   it was taken and who took it and what the
10       Q. What about Nadia Bjorlin, would she      10   message was, obviously.
11   regularly travel with Jeffrey on flights?       11       Q. Does what's in front of you look
12       A. I have no idea, you would have to        12   familiar with respect to the message pads
13   look through the flight logs. I have no         13   that you would have used at the house?
14   idea.                                           14       A. It is familiar.
15       Q. Your recollection is -- what is          15       Q. I'm going to direct your attention
16   your recollection, do you recollect Nadia       16   to the second page of it?
17   traveling often on flights with Jeffrey?        17          MR. PAGLIUCA: These all have SAO
18       A. Absolutely not. No, not at all. I        18       numbers on them or Bates ranges and I
19   don't recollect her actually on the flight at   19       don't see any of your Bates ranges on
20   all.                                            20       these. I know you have produced message
21       Q. I think you can set that aside for       21       pads but those have your Bates range
22   the moment.                                     22       numbers on them and I'm wondering if
23          (Maxwell Exhibit 9, message pad          23       these are different documents.
24       pages, marked for identification.)          24          MS. McCAWLEY: It's the same, just
25       Q. We will mark as Exhibit 9 these          25       ours have the Bates underneath them.




                                                                   38 (Pages 146 to 149)
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                                          Page 150                                               Page 152
 1        G Maxwell - Confidential                         1        G Maxwell - Confidential
 2       These were produced as part of the rule           2   for JE, date 1/02/03, message Caroline Casey
 3       26 discovery. We can get the additional           3   and then it's signed GM.
 4       Bates if you want.                                4          Is that your signature?
 5
 6
 7
 8
 9
10
     the
        -Q. The one I'm asking about first is


     in this case.
                     . You can look at that and then
     I will identify the Bates number referenced

            I want to direct your attention to
     the top right-hand corner just so I have an
                                                           5
                                                           6
                                                           7
                                                           8
                                                           9
                                                          10
                                                                  A. That's not my handwriting.
                                                                  Q. Would other people take a message,
                                                               how did this process work, is there someone
                                                               else in the house with the initials GM?
                                                                      MR. PAGLIUCA: Objection to the
                                                                  form and foundation.
11   understanding of how these messages were             11      A. I cannot answer that. It's not my
12   taken. So I see that it says at the top it           12   handwriting.
13
14
15
16
17
18
     the date of
                -
     says in the for line it says Ms. Maxwell and
                          and then I see under the
     M line it looks like Necole Hesse or
     something like that, a phone number and a
     message saying returning your call and on the
     bottom it looks like1111     .
                                                          13
                                                          14
                                                          15
                                                          16
                                                          17
                                                          18
                                                                  Q. I'm trying to understand how this
                                                               gets there. If you took a message and didn't
                                                               write it down, would someone else record that
                                                               message for you?
                                                                      MR. PAGLIUCA: Objection to the
                                                                  form and foundation.
19          Explain to me, is this -- does this           19      A. All I can tell you, this is not my
20
21
     represent1111     taking down a message for you
     from Ms. Hesse, is that how these work?
                                                          20
                                                          21
                                                               handwriting so I cannot -- I have no idea
                                                               what that is.
22          MR. PAGLIUCA: Objection to the                22      Q. Was the practice that, what was the
23       form and foundation. Go ahead.                   23   practice when someone answered the phone with
24       Q. My question is, I'm trying to                 24   these message pads, what were they supposed
25   understand how the messages were taken.              25   to do?
                                          Page 151                                               Page 153
 1         G Maxwell - Confidential                        1        G Maxwell - Confidential
 2
 3
 4
 5
 6
 7
     signed
            -       , can you tell me who
         A. I cannot.
         Q. You do not know.              -
     Looking at this message pad, where it says



            Typically when these messages were
     taken in your practice when you were there,
                                                   was?
                                                           2
                                                           3
                                                           4
                                                           5
                                                           6
                                                           7
                                                                  A. They were supposed to take a
                                                               message and the time and date and give the
                                                               message.
                                                                  Q. Were they supposed to indicate who
                                                               took the message?
                                                                  A. They were but it wasn't -- I don't
 8   would the individual who took the message             8   really recall the actual process. I can see
 9   write their name on the message?                      9   from here it looks like you were supposed to
10          MR. PAGLIUCA: Objection to the                10   but that's not my handwriting so I can't say
11       form and foundation.                             11   what that was.
12       A. I don't recollect, you can ask who            12      Q. Do you know who Caroline Casey is?
13   wrote it so you can find out who it was.             13      A. No, I don't.
14       Q. Do you know who Necole Hesse is?              14      Q. Do you know whether Caroline Casey
15       A. I don't.                                      15   was under the age of 18?
16       Q. I'm going to direct your                      16      A. I just testified I couldn't
17   attention -- do we have a Bates number for           17   remember who she was so it would be difficult



                     ---
18   that?                                                18   to know how old she was.
19          MR. EDWARDS:               .                  19      Q. Do you know if she was coming to
20       Q. Giuffre            for that one.              20   the house to provide massages?
21          I will direct your attention to the           21      A. I don't remember who she is at all,
22   first page which has the               on it.        22   so no.
23       A. Okay.                                         23      Q. And then I would like to direct
24       Q. Now at the top of that document, on           24   your attention to the message right
25   the right-hand side, the message that reads          25   underneath it. Which says JE,




                                                                        39 (Pages 150 to 153)
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                                         Page 154                                               Page 156
 1        G Maxwell - Confidential                       1       G Maxwell - Confidential
 2   and has a phone number and the message says,        2      Q. In 2003?
 3   wants to know if she should bring her friend        3      A. The end of 2003?
 4
 5
     1111   tonight.
            What is that message referring to?
                                                         4
                                                         5
                                                                Q. January, the beginning.
                                                                A. I don't know, I could have been
 6          MR. PAGLIUCA: Objection to the               6   anywhere, Jeffrey and I were leading almost
 7       form and foundation.                            7   separate lives by then.
 8       A. I can't possibly know.                       8      Q. If you were at the house that day,
 9
10
11
12
13
14
         Q. Did individuals at the house take
     messages for underage girls to come over and
     bring friends for the purpose of providing
     massages?
            MR. PAGLIUCA: Objection to the
         form and foundation.
                                                         9
                                                        10
                                                        11
                                                        12
                                                        13
                                                        14
                                                             -
                                                             did you recall seeing anybody by the name of

                                                                    MR. PAGLIUCA: Objection to the
                                                                form and foundation.
                                                                A. I don't know if I was at the house,
                                                             so I can't testify to that.
15
16
17
18
19
20
         A. How would I possibly know what you
     are talking about.
         Q. Did you record messages at the
     house?
         A. It's not my job.
         Q. You did from time to time record
                                                        15
                                                        16
                                                        17
                                                        18
                                                        19
                                                        20
                                                             the one we were on before the
                                                                                            -
                                                                Q. Let's flip back to the next page,

                                                             message towards the bottom that says, for
                                                                                                       , the

                                                             Jeffrey, message of Ghislaine. And it says,
                                                             Would it be helpful to have and then redacted
                                                             come to Palm Beach today to stay here and
21   messages?                                          21   help train new staff with Ghislaine. Who
22       A. Hardly ever.                                22   were you referring to in that message; do you
23       Q. But you did from time to time do            23   remember?
24   it?                                                24          MR. PAGLIUCA: Objection to the
25       A. I'm just saying I hardly ever took          25      form and foundation.
                                         Page 155                                               Page 157
 1         G Maxwell - Confidential                      1       G Maxwell - Confidential
 2   messages, very, very, very, very                    2      Q. The question is, do you recall this




      - -
 3   infrequently.                                       3   message?
 4       Q. Do you know if               brought her     4      A. I do not recall this message.
 5   friend         over on that night?                  5      Q. Do you recall training a female
 6           MR. PAGLIUCA: Objection to the              6   under the age of 18 at Jeffrey's home?
 7       form and foundation.                            7          MR. PAGLIUCA: Objection to the
 8       A. One, I don't know what this message          8      form and foundation.




     - -
 9   is, I don't know if I was in Palm Beach, I          9      A. I never trained a female under the
10   don't know who              is, I don't know who   10   age of 18 at Jeffrey's home.
11           is and I don't know what this message      11      Q. Did you ever say it would be
12   is referring to.                                   12   helpful to have a female under the age of 18
13       Q. So on January 2nd of 2003, were you         13   come to Palm Beach today to stay here and
14   in Palm Beach?                                     14   help train new staff with Ghislaine?
15       A. I don't know.                               15      A. I never asked anyone under the age
16       Q. Where would you have been other             16   of 18 come to help train new staff.
17
18
19
20
21
22
     than Palm Beach at the time?
         A. I could have been anywhere.
         Q. Where did you typically live?
         A. What are you asking me?
         Q. So for example, in 2003, where was
     your primary residence, was it wherever
                                                        17
                                                        18
                                                        19
                                                        20
                                                        21
                                                        22
                                                             which is
                                                                     -
                                                                Q. I'm going to flip to the next page
                                                                                  .
                                                                A. By the way, that is not my
                                                             handwriting and it's not dated and I couldn't
                                                             possibly tell you who that is.
                                                                    Did you hear that?
23   Jeffrey was living and staying or was it           23      Q. You got your testimony on the
24   independent of that?                               24   record.
25       A. What was the date again.                    25               .




                                                                      40 (Pages 154 to 157)
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                                        Page 158                                               Page 160
 1        G Maxwell - Confidential                     1         G Maxwell - Confidential
 2
 3
 4
         A. Yes.
            MR. EDWARDS: Giuffre
                                       -
         Q. I'm going to direct your attention
                                                 .
                                                       2
                                                       3
                                                       4
                                                            available on Tuesday, no one for tomorrow.
                                                                   Is this a message you took?
                                                                A. It's not my handwriting and I don't
 5
 6
 7
 8
     Epstein,
             - --
     to the top right-hand corner, for Mr.
                     , message
     number and called.
            Do you know who
                                       , a phone

                                        is?
                                                       5
                                                       6
                                                       7
                                                       8
                                                            know who R is.
                                                                Q. So when it says Ms. Maxwell in the
                                                            line there, is that you calling for Mr.
                                                            Epstein?
 9
10
11
12              -
         A. I don't.
         Q. Do you know that
     the time she left this message?
                                         was 15 at

            MR. PAGLIUCA: Objection to the
                                                       9
                                                      10
                                                      11
                                                      12
                                                                   MR. PAGLIUCA: Objection to the
                                                                form and foundation.
                                                                A. I didn't write it, I don't know
                                                            when this message was taken. I don't even
13
14
15
16
17
18
                -
         form and foundation.
         A. I don't know who            is.
         Q. And then I'm going to direct your
     attention to the bottom left which is a
     message JE message of Jean Luc and the
     message says, He just did a good one, 18
                                                      13
                                                      14
                                                      15
                                                      16
                                                      17
                                                      18
                                                            know what it's referring to and I don't know
                                                            what my name is doing on that message pad.
                                                                Q. I know you said you only took them
                                                            a few times. Do you have a recollection of
                                                            taking messages of females who would call the
                                                            house to indicate whether or not they were
19   years, she spoke to me and said I love           19    coming over?
20   Jeffrey.                                         20           MR. PAGLIUCA: Objection to the
21          Was Jean Luc referring to sex with        21        form and foundation.
22   an 18 year old in that message?                  22        A. Give me a date range.
23          MR. PAGLIUCA: Objection to the            23        Q. On 7/9/04.
24       form and foundation.                         24        A. How would I know if I'm in Palm
25       A. How could I know what Jean Luc is         25    Beach, most likely not.
                                        Page 159                                               Page 161
 1        G Maxwell - Confidential                     1       G Maxwell - Confidential
 2   referring to.                                     2      Q. I'm asking if you have a
 3       Q. Do you know if Jean Luc had sex            3 recollection of taking messages for girls who
 4   with an 18 year old that he referenced to         4 would call the house --
 5   Jeffrey Epstein?                                  5      A. Girls.
 6          MR. PAGLIUCA: Objection to the             6      Q. Females, who would call the
 7      form and foundation.                           7 house --
 8       A. How could I possibly know.                 8      A. Over the age of 18.
 9       Q. Did Jeffrey Epstein or Jean Luc            9      Q. 1111 is 15.
10   ever tell you that Jean Luc had sex with an      10      A. I don't know who            is, so I
11   18 year old?                                     11  can't testify anything to        .
12          MR. PAGLIUCA: Objection to the            12      Q. Your name is on the message.
13       form and foundation.                         13      A. I didn't put it there and I don't
14       A. I have no idea what you are talking       14  know what it's doing there.
15   about.                                           15      Q. So your testimony is you didn't
16       Q. Did they ever tell you that?              16  take this message?
17       A. I have no recollection of ever            17      A. I obviously didn't take the
18   hearing such a ridiculous thing.                 18  message, it's signed by somebody R, it's not
19       Q. I will turn to the next page which        19  my handwriting. We don't know if I'm in Palm
20   is SAO 2841?                                     20  Beach.
21
22
23
24
25   says,
            MS. MENNINGER: Do you have the 21
         Bates number?
         Q. The bottom right-hand corner, Mr.

                 ~
     Epstein, the date          , Ms. Maxwell, it
                   , it says, quote,      _is
                                                      22
                                                      23
                                                      24
                                                  ___.___
                                                      25 _
                                                          his friend
                                                          this week?

                                                          would_
                                                                      -
                                                              Q. Did you arrange for 1111 to have



                                                                  be hard_
                                                                              come over on Tuesday of

                                                              A. I don't know who
                                                                          for me_    1111
                                                                                        _
                                                                                  to arrange
                                                                                             is so it
                                                                                                 _with
                                                                                             anything  ____,


                                                                      41 (Pages 158 to 161)
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                                       Page 162                                                Page 164
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   someone I don't know.                            2   messages, I don't know about how I would
 3      Q. Why is your name reflected on this         3   possibly know if somebody I spoke to, one or
 4   message pad?                                     4   two times I took a message is, how old they
 5         MR. PAGLIUCA: Objection to the             5   would be but I have never taken a message
 6      form and foundation.                          6   where I was aware of anything being under the
 7      A. I have no idea. You would have to          7   age of 18 and I probably took it so
 8
 9
10
11
12
13
     ask whoever took the message.
        Q. Did you, in the course of your
     work, regularly take messages for Jeffrey
     Epstein?
        A. I already testified I hardly ever
     did.
                                                      8
                                                      9
                                                     10
                                                     11
                                                     12
                                                     13
                                                             Q. Can you turn to
                                                          should be the next page.
                                                             A. Uh-huh.           -
                                                          infrequently, it would be impossible.
                                                                                                it


                                                             Q. Do you see at the top, it says, for
                                                          Mr. J. 11/8/04 and then the name is
14      Q. Would you, in the course of your          14   redacted. It says, I have a female for him.
15   work, regularly set up appointments for         15         Why would a minor be calling
16   females to come over and give massages for      16   Jeffrey to say they have a female for him?
17   Jeffrey Epstein?                                17         Do you know?
18         MR. PAGLIUCA: Objection to the            18         MR. PAGLIUCA: Objection to the
19      form and foundation.                         19      form and foundation.
20      A. Can you specify, females, you mean        20      A. First of all, I don't know that's a
21   adults over the age of 18.                      21   minor, I don't know who took the message.
22      Q. Did you regularly set up for              22      Q. I will represent to you these are
23   Jeffery adults over the age of 18 to come for   23   police reports and minor's names have to be
24   massages?                                       24   redacted for privacy purposes?
25      A. I didn't regularly do that, no.           25         MR. PAGLIUCA: Objection to the
                                       Page 163                                                Page 165
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2       Q. Would you take messages with              2       form and foundation.
 3   respect to females over the age of 18 to come    3       Q. Do you know why a minor child would
 4   over for a massage?                              4   be calling Jeffrey and leaving a message to
 5       A. I already testified I hardly ever         5   say, quote, I have a female for him?
 6   did take messages.                               6          MR. PAGLIUCA: Objection to the
 7       Q. But would you?                            7       form and foundation.
 8       A. I already testified, I hardly             8       A. I can't testify anything about this
 9   ever --                                          9   message, I don't know anything about it.
10
11
12
13
14
15
         Q. I know hardly ever, but did you?
         A. Over the course of time it is
     possible I may have taken a couple, I have no
     recollection. I hardly ever did and I did so
     irregularly that it would hard for me to
     pinpoint.
                                                     10
                                                     11
                                                     12
                                                     13
                                                     14
                                                     15
                                                          to the next page
                                                                           -
                                                              Q. I'm going to direct your attention


                                                          message for Jeffrey, from
                                                                                       . If you look at
                                                          the bottom left, you are going to see a

                                                          says she doesn't have a number and left a
                                                          message that she called.
                                                                                                        , it


16       Q. Did you ever take a message for a        16          Do you know who                        is?
17   female under the age of 18 to come over for a   17       A. I do not.
18   massage or for any other reason to be with      18       Q. Do you know that                        was
19   Jeffrey Epstein?                                19   13 at the time she placed this call to
20          MR. PAGLIUCA: Object to the form         20   Jeffrey?
21       and foundation.                             21       A. I don't know who                       is.
22       A. I hardly ever took a message. I          22       Q. Would Jeffrey regularly have 13
23   have absolutely no way of knowing, maybe one    23   year olds call and leave messages?
24   of my friends' daughters called to say they     24          MR. PAGLIUCA: Objection to the
25   were coming to visit me. I have never taken     25       form and foundation.




                                                                    42 (Pages 162 to 165)
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                                      Page 166                                              Page 168
 1          G Maxwell - Confidential                  1        G Maxwell - Confidential
 2        A. How would I possibly, these were         2      off the record.
 3   messages taken when I was not at the house       3         (Recess.)
 4   and I have no idea who they are nor how old      4       AFTERNOON SESSION
 5   they are nor anything.                           5          (Time noted: 1:21 p.m.)
 6        Q. How do you know you weren't at the       6   G H I S L A I N E M A X W E L L,
 7   house on this day?                               7   resumed and testified as follows:
 8        A. I was hardly at the house in 2005.       8   EXAMINATION BY (Cont'd.)
 9        Q. So you could have been there, you        9   MS. McCAWLEY:
10   just don't know?                                10         THE VIDEOGRAPHER: It's now 1:21,
11        A. In the five days I might have been      11      we're starting disk No. 4. We are back
12   there in 2005, I suppose it's possible but      12      on the record.
13   it's unlikely.                                  13      Q. Ms. Maxwell, before the break, we
14            MR. PAGLIUCA: Do you know why this     14   were talking about and I think it's one of
15        isn't redacted if you are representing     15   the exhibits that's marked in front of you,
16        all the names of people who are underage   16   I'm not sure of the number, but the police
17        have been redacted from these records.     17   report that I showed you earlier today.
18            MS. McCAWLEY: I think it was -- my     18         Now that you have knowledge of the
19        assumption is it was a miss by the         19   police report and the criminal investigation
20
21
22
23
24
25
     -
          police department.


                                      -
          Q. I will direct your attention to
             so you will skip a page and go back,
     it's the final page in the message pads and
     you will see on the top left for Jeffrey, on
     6/1/2005 from Jean Luc Brunel with a phone
                                                     20
                                                     21
                                                     22
                                                     23
                                                     24
                                                     25
                                                          with respect to Jeffrey Epstein, do you
                                                          believe that Jeffrey Epstein abused any minor
                                                          children?
                                                                MR. PAGLIUCA: Objection to the
                                                             form and foundation.
                                                             A. Can you repeat the question please
                                      Page 167                                              Page 169
 1        G Maxwell - Confidential                    1         G Maxwell - Confidential
 2   number. It says, quote, He has a teacher for     2   and break it down so it's more
 3   you to teach you how to speak Russian. She       3   understandable.
 4   is two times eight years old. Not blond.         4       Q. Now that you have the police report
 5   Lessons are free and you can have your first     5   that I showed you this morning that you had
 6   today if you call.                               6   an opportunity to look at.
 7          Do you know whether Jean Luc Brunel       7       A. You gave it to me, I did not look
 8   sent a Russian girl that was 16 years old        8   at it.
 9   over to Jeffrey Epstein's home?                  9       Q. The questions that I asked you
10          MR. PAGLIUCA: Objection to the           10   about the police report -- you are aware
11       form and foundation.                        11   there is a police report?
12       A. I do not know.                           12       A. I am aware there is a police
13       Q. Did you ever observe a Russian girl      13   report.
14   that was 16 years old come to Jeffrey           14       Q. You are aware there was a criminal
15   Epstein's home?                                 15   investigation of Jeffrey Epstein?
16       A. I am not aware of any 16 year old        16       A. I am aware that there was that.
17   Russian girl that I can recall in Jeffrey       17       Q. Now that you are aware of those two
18   Epstein's home.                                 18   things and having talked to Jeffrey Epstein,
19       Q. Do you know whether Jeffrey Epstein      19   do you believe Jeffrey Epstein sexually
20   had sex with a 16 year old Russian girl?        20   abused minors?
21          MR. PAGLIUCA: Objection to the           21          MR. PAGLIUCA: Objection to the
22       form and foundation.                        22       form and foundation.
23       A. I do not know.                           23       A. Can you reask the second part of
24          THE VIDEOGRAPHER: It's 12:25.            24   that question please.
25       This will be the end of disk 3, we are      25       Q. Sure. The two documents we were




                                                                   43 (Pages 166 to 169)
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                                       Page 242                                            Page 244
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   please?                                          2   I took of people would only have been
 3      Q. Is it an obvious lie that you had          3   mainstream type magazine type photos and any
 4   sex toys in Jeffrey Epstein's Palm Beach         4   photos I took could have been very happily
 5   house?                                           5   and expected to be displayed on your parents'
 6          MR. PAGLIUCA: Objection to the            6   mantel piece or grandparents' mantel piece.
 7      form and foundation.                          7       Q. Is it a lie that you approached
 8      A. Did Virginia say that?                     8   females to bring them to Jeffrey Epstein?
 9      Q. I'm asking you a question.                 9          MR. PAGLIUCA: Objection to the
10          Is it an obvious lie that you had        10       form and foundation.
11   sex toys in Jeffrey Epstein's house?            11       A. Please ask the question, again.
12      A. I don't recall any sex toys.              12       Q. Sure. Is it a lie that you
13      Q. If someone said had you sex toys,         13   approached females to bring them to Jeffrey
14   would that be an obvious lie?                   14   Epstein?
15          MR. PAGLIUCA: Objection to the           15       A. I don't know what you are asking
16      form and foundation.                         16   me.
17      A. Like I said -- can you be more            17       Q. I'm asking you, if it's a lie that
18   specific about the house or whatever, what      18   you approached females to bring them to
19   exactly you are referring to, what's a sex      19   Jeffrey Epstein?
20   toy?                                            20          MR. PAGLIUCA: Objection to the
21      Q. Yes. How would you define a sex           21       form and foundation.
22   toy?                                            22       A. You are not asking me a good
23      A. No. I need you to define a sex            23   question, sorry.
24   toy, I don't have enough knowledge of sex       24       Q. You don't get to choose the
25   toys.                                           25   questions.
                                       Page 243                                            Page 245
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2       Q. I will define it based on the             2       A. I would like to answer your
 3   dictionary's definition, which is an object      3   questions but you are not asking me a
 4   or device used to sexually stimulate or          4   question that I can answer.
 5   enhance sexual pleasure.                         5       Q. What about that is causing you
 6       A. What's your question, please?             6   pause where you can't answer the question?
 7       Q. The question is, is it an obvious         7       A. You are trying to trap me and
 8   lie that you had sex toys in Jeffrey             8   that's not fair, so I already testified that
 9   Epstein's Palm Beach house?                      9   I hire people across the board, so I would
10          MR. PAGLIUCA: Same objection.            10   hire architects, decorators, pool people,
11       Q. You can answer.                          11   exercise instructors, gardeners, cooks,
12       A. Like I said, I do not have any           12   chefs, cleaning people. So I, in the course
13   recollection of sex toys in Jeffrey's house.    13   of a very long time when I would hire people
14       Q. Is it a lie, is it an obvious lie        14   I hired people to work for Jeffrey. So I'm
15   that you took pictures of nude girls?           15   happy to testify to hiring people for every
16          MR. PAGLIUCA: Object to the form         16   possible conceivable proper job that you
17       and foundation.                             17   could conceive of within the context of
18       A. We already covered this. Girls we        18   Jeffrey's life and homes.
19   are not referring to -- I can only testify to   19       Q. Is it a lie that you approached
20   taking pictures of adult people and I already   20   females to bring them to Jeffrey Epstein for
21   testified they are not nude, per se. That       21   the purpose of performing massages?
22   every picture that I ever took and which they   22          MR. PAGLIUCA: Objection to the
23   were very limited, always by request, the       23       form and foundation.
24   people would be covered or it would be a hand   24       A. Again, I have already testified
25   or a foot. There was never any pictures that    25   that part of the job that I had was to hire




                                                                   62 (Pages 242 to 245)
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                                       Page 250                                             Page 252
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   agree to that?                                   2   Epstein had a sexual preference for underage
 3          MR. PAGLIUCA: Objection to the            3   minors?
 4      form and foundation.                          4          MR. PAGLIUCA: Object to the form
 5      Q. Are they under the age of 18?              5      and foundation.
 6      A. We already established that you can        6      A. I cannot testify to what
 7   be a masseuse in Florida at age 17. That         7   Jeffrey's --
 8   does not make it inappropriate.                  8      Q. You don't know his preference?
 9      A. I'm not saying appropriate or              9      A. You handed me a stack of papers
10   inappropriate. I'm just asking if there were    10   from the police reports and that's what I've
11   any exercise instructors that were under the    11   read but I have no knowledge, direct
12   age of 18.                                      12   knowledge, of what you are referencing.
13      A. I am not aware if anybody was but I       13      Q. So you don't know, you don't know
14   don't want to full out and say you oh she       14   in your own mind that Jeffrey Epstein had a
15   said, we already established you can be a 17    15   sexual preference for underage minors, is
16   year old masseuse and have it not be            16   that correct?
17   something that is not appropriate. So when      17          MR. PAGLIUCA: Objection to the
18   you say that and then you go, well, you come    18      form and foundation.
19   back and say something, now we can establish    19      Q. Is that correct?
20   that Virginia was 17 but you can be a 17 year   20      A. Please ask the question again.
21   old legal masseuse, but I am not aware to       21      Q. You don't know in your own mind
22   your point.                                     22   that Jeffrey Epstein had a sexual preference
23      Q. Who were the other 17 year old            23   for underage minors?
24   masseuses that you were aware of?               24          MR. PAGLIUCA: Objection to the
25      A. I am not aware of any.                    25      form and foundation. You have to pause,
                                       Page 251                                             Page 253
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2      Q. Were there any 16 year year old            2       let me object, answer the question.
 3   masseuse that you are aware of?                  3       Listen to her question, pause, I object,
 4      A. I am not aware.                            4       you answer.
 5      Q. Any 15?                                    5       Q. So you don't know in your own mind
 6      A. I just want to be clear. The only          6   that Jeffrey Epstein had a sexual preference
 7   person that I am aware of who claims to have     7   for underage minors?
 8   been a -- we have to -- we established           8           MR. PAGLIUCA: Objection to the
 9   Virginia now is 17, given she has changed her    9       form and foundation.
10   age so many times. The only person that I am    10       Q. You can answer.
11   aware of that was a masseuse at the time when   11       A. I cannot tell you what Jeffrey's
12   I was present in the house was Virginia.        12   story is. I'm not able to.
13      Q. Is it an obvious lie that Jeffrey         13       Q. Did Jeffrey Epstein have a scheme
14   Epstein had a sexual preference for underage    14   to recruit underage girls to use them for
15   miners?                                         15   purposes of sexual massages?
16         MR. PAGLIUCA: Objection to the            16           MR. PAGLIUCA: Objection to the
17      form and foundation.                         17       form and foundation.
18      A. Can you ask the question again?           18       A. Can you ask me again, please?
19      Q. It is it an obvious lie that              19       Q. Did Jeffrey Epstein have a scheme
20   Jeffrey Epstein had a sexual preference for     20   to recruit underage girls to recruit them for
21   underage minors?                                21   sexual massages?
22         MR. PAGLIUCA: Objection to the            22           MR. PAGLIUCA: Objection to the
23      form and foundation.                         23       form and foundation.
24      A. Can you ask the question again?           24       A. Can you ask it a different way?
25      Q. Is it an obvious lie that Jeffrey         25       Q. Did Jeffrey Epstein have a scheme




                                                                   64 (Pages 250 to 253)
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                                      Page 254                                             Page 256
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   to recruit underage girls for sexual             2      Q. During any period of time you
 3   massages?                                        3   worked, did you observe that?
 4          MR. PAGLIUCA: Objection to the            4      A. I did not observe any such
 5       form and foundation.                         5   photographs.
 6       Q. If you know.                              6      Q. Are you aware if they took those
 7       A. I don't know what you are talking         7   kinds of photos?
 8   about.                                           8      A. I am not aware.
 9       Q. Is it an obvious lie that Virginia        9         MR. PAGLIUCA: Can we take a
10   Giuffre was a minor the first time she was      10      five-minute break.
11   taken to Jeffrey Epstein's house?               11         THE VIDEOGRAPHER: It's 2:58 and we
12          MR. PAGLIUCA: Objection to the           12      are off the record.
13       form and foundation.                        13         (Recess.)
14       A. So we've already established that        14         THE VIDEOGRAPHER: It's now 3:10.
15   Virginia was 17 and we have established that    15      We're starting disk No. 6 and we are
16   her mother brought her to the house and that    16      back on the record.
17   she came as a masseuse, age 17, which is        17      Q. Ms. Maxwell, was it an obvious lie
18   legal in Florida.                               18   when Virginia said she was sent to Thailand
19       Q. Would Jeffrey Epstein's assistants       19   by Epstein in September of 2002?
20   arrange times for underage girls to come to     20         MR. PAGLIUCA: Objection to the
21   the house for sexual massages?                  21      form and foundation.
22          MR. PAGLIUCA: Objection to the           22      A. I have no knowledge of Virginia
23       form and foundation.                        23   being sent to Thailand.
24       A. What are you talking about?              24         But may I say something?
25       Q. Sure. Would Jeffrey Epstein's            25      Q. There is not a question pending
                                      Page 255                                             Page 257
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   assistants, I think earlier you mentioned, we    2   unless you want to clarify something.
 3   talked about Sarah Kellen who worked in the      3          Did you want to clarify that?
 4   role as an assistant or Nadia Marcinkova.        4       A. No, I just wanted to say something.
 5   Would Jeffrey Epstein's assistants arrange       5       Q. Is it an obvious lie when Virginia
 6   times for underage girls to come over the        6   said she was given instructions to maintain
 7   house for sexual massages?                       7   telephone contact with you while she was in
 8           MR. PAGLIUCA: Objection to the           8   Thailand?
 9      form and foundation.                          9          MR. PAGLIUCA: Objection to the
10      A. Again, I read the police reports so       10       form and foundation.
11   this is all happening according to the police   11       A. Can you repeat the question?
12   reports when I am no longer at the house so I   12       Q. Is it an obvious lie when Virginia
13   can't testify to what Jeffrey's assistants      13   said she was given instructions to maintain
14   did when this kind of activity as alleged in    14   telephone contact with you when she was in
15   the reports.                                    15   Thailand?
16      Q. So you don't know?                        16          MR. PAGLIUCA: Same objection.
17      A. No.                                       17       A. I have no idea what instructions
18      Q. Would Jeffrey Epstein's assistants,       18   Virginia was given, if any, when she went to
19   meaning Sarah Kellen, Nadia Marcinkova or any   19   Thailand.
20   other assistant that you are aware of from      20       Q. So you know she went to Thailand?
21   the time you worked there take nude             21       A. I know she claimed she went to
22   photographs of underage girls?                  22   Thailand from having read it but given that
23           MR. PAGLIUCA: Object to the form        23   she lied about everything it's hard to know
24      and foundation.                              24   what is true and not true.
25      A. During what period of time?               25       Q. Would it make any sense for her to




                                                                   65 (Pages 254 to 257)
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                                          Page 266                                              Page 268
 1        G Maxwell - Confidential                        1         G Maxwell - Confidential
 2   can see the dates.                                   2           MR. PAGLIUCA: Are you asking her
 3           MR. PAGLIUCA: Can you identify a             3       to compare the documents or are you
 4       Bates number, please.                            4       asking her what her personal knowledge
 5       Q.          , which was at the top says,         5       is.
 6                         . I'm going to refer you,      6           MS. McCAWLEY: I'm asking if she can
 7   at the same time, to the flight logs which           7       look at the doubts and tell me if she
 8   were marked, the thicker document that looks         8       recalls that she traveling with
 9   like this with all the log entries on it.            9       President Clinton at the same time this
10   I'm going to refer you to page --                   10       document reflects Virginia was in
11           MR. PAGLIUCA: That's Exhibit No.            11       Thailand.
12       6, correct? I'm trying to keep the              12       A. I can't testify to any dates. I
13       record straight.                                13   couldn't tell you. I can see a date and I
14
15
16
         numbers on mine. That's Giuffre
                                           -
             MS. McCAWLEY: I don't have Exhibit

             MR. PAGLIUCA: Hang on one second.
                                                     .
                                                         14
                                                         15
                                                         16
                                                              can see a date but I can't tell you that I
                                                              have a memory of the dates. I have a memory
                                                              of the trip, I don't have a memory of the
17
18
19
20
21
22
     1111
         Q.
            -
         A. Can you repeat the number please.
                       . And if you will look on

                            ■-
     that page at the entry, under
            starting with the
     down to the, looks like the
                                •
                                   and then it runs
                                        , that first
     entry has President Clinton, Kevin Spacey,
                                                         17
                                                         18
                                                         19
                                                         20
                                                         21
                                                         22
                                                              time.
                                                                  Q. Who is
                                                                  A.
                                                                  Q. What is her address?
                                                                  A. I don't know.
                                                                                           .
                                                                                             ?



                                                                  Q. Does she live in the United States?
23   Chris Tucker, Jeffrey Epstein and the               23       A. She does.
24   initials GM.                                        24       Q. In what state?
25           Do you remember taking a trip with          25       A. I believe in New Jersey somewhere.
                                          Page 267                                              Page 269
 1        G Maxwell - Confidential                        1        G Maxwell - Confidential
 2   President Clinton during September of 2002?          2      Q. Do you have her phone number?
 3           MR. PAGLIUCA: Objection to the               3      A. Not memorized.
 4      form and foundation.                              4      Q. Do you have the ability to get her
 5      A. Can you repeat the question,                   5   phone number?
 6
 7
 8
 9
10
11
     please?
        Q. Do you remember taking a trip with
     President Clinton during September of 2002,
     that's the 21st, it looks like, through the
     27th?
        A. I don't remember the dates. I
                                                          6
                                                          7
                                                          8
                                                          9
                                                         10
                                                         11
                                                              -
                                                                 A. Of course.
                                                                 Q. Has she ever asked -- has
                                                                                               -
                                                                      ever asked other girls to come over to
                                                              see Jeffrey Epstein for the purpose of a
                                                              sexual massage?
                                                                    MR. PAGLIUCA: Objection to the
12   couldn't testify to when we actually did it         12      form and foundation.
13   but I do remember the trip itself.                  13      A. Can you ask the question again
14
15
16
17
18
19
        Q. So you were traveling with Jeffrey
     Epstein and President Clinton at the same
     time Virginia was headed to Thailand, is that
     correct?
             MR. PAGLIUCA: Objection to the
        form and foundation.
                                                         14
                                                         15
                                                         16
                                                         17
                                                         18
                                                         19
                                                              please.
                                                                 Q. Has
                                                                         -               ever asked girls to
                                                              come over to see Jeffrey Epstein for the
                                                              purpose of a sexual massage?
                                                                    MR. PAGLIUCA: Object to form and
                                                                 foundation.
20
21
22
23
24
25
        A. I don't know, is that right?
        Q. If you look at September 27 on the
     document that I gave you, the first document
     and then you referred to, if you look in the
     same as above lines, you will see the travel
     group with President Clinton?
                                                         20
                                                         21
                                                         22
                                                         23
                                                         24
                                                         25
                                                                 Q. Has
                                                                         -
                                                                 A. Can you ask again, please?


                                                              purpose of sexual massage?
                                                                                         ever asked girls to
                                                              come over to see Jeffrey Epstein for the

                                                                 A. I have no personal knowledge.
                                                                 Q. What does                   do for you?




                                                                       68 (Pages 266 to 269)
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                                      Page 286                                              Page 288
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2      moment there is such a document, just         2   hand puppets, all sorts of puppets.
 3      hypothetically, and assuming for the          3       Q. Is there any puppet you've ever
 4      moment that it is going to get produced       4   seen in Jeffrey Epstein's home in the
 5      somewhere, if it hasn't already been          5   presence of Prince Andrew?
 6      produced, obviously that would involve a      6       A. Again, puppet, you know, there is
 7      waiver, a future waiver of the                7   lots of types of puppets.
 8      privilege. I think that's the answer to       8       Q. Any type of puppet.
 9      the question.                                 9       A. If you want to give me a
10      Q. Has the document been produced, do        10   description of the puppet, I would be perhaps
11   you know?                                       11   be able to say.
12      A. You have everything that I have           12       Q. Any type of puppet?
13   given you, so if you can't -- if it's not in    13       A. Can you be more detailed?
14   those documents, I don't know what to tell      14       Q. Have you ever seen a puppet in
15   you.                                            15   Jeffrey Epstein's home in the presence of
16      Q. Your lawyers haven't withheld any         16   Prince Andrew?
17   documents?                                      17       A. My understanding of a puppet is a
18      A. They are right here. You can ask          18   small handheld item you have in a circus. I
19   them.                                           19   have never seen that.
20      Q. I'm asking you.                           20       Q. Have you ever seen a puppet which
21      A. I don't know what -- they're              21   is defined as a movable model of a person or
22   lawyers.                                        22   animal that is used in entertainment and
23      Q. When we were talking earlier about        23   typically moved either by strings or
24   Prince Andrew, I asked you whether you had      24   controlled from above or by a hand inside it?
25   ever given him a gift of a puppet.              25          MR. PAGLIUCA: Objection to the
                                      Page 287                                              Page 289
 1       G Maxwell - Confidential                     1        G Maxwell - Confidential
 2          Did you ever, not as a gift, did          2       form and foundation.
 3   you ever see in the presence of Prince Andrew    3       A. I have not seen a puppet that fits
 4   a puppet?                                        4   exactly that description.
 5          MR. PAGLIUCA: Objection to the            5       Q. Have you seen any puppet that fits
 6      form and foundation.                          6   any description?
 7      A. Can you be more direct, please?            7          MR. PAGLIUCA: Objection to the
 8      Q. Sure. Were you ever in a room with         8       form and foundation.
 9   Prince Andrew where there was a puppet?          9       A. Can you reask the question, please?
10          MR. PAGLIUCA: Objection to the           10       Q. Yes.
11      form and foundation.                         11          Have you seen any puppet that fits
12      A. Can you be more specific please and       12   any description in the presence of Prince
13   can you bound it by time and be more            13   Andrew in Jeffrey Epstein's home?
14   specific, whatever you are actually asking      14          MR. PAGLIUCA: Objection to the
15   me?                                             15       form and foundation.
16      Q. Were you ever in a room with Prince       16       A. I am not aware of any small
17   Andrew in New York in Jeffrey Epstein's home    17   handheld puppet that was there. There was a
18   where there was a puppet?                       18   puppet -- not a puppet -- there was a -- I
19          MR. PAGLIUCA: Objection to the           19   don't know how would you describe it really,
20      form and foundation.                         20   I don't know how would you describe it. Not
21      A. What sort of puppet are you asking        21   a puppet, I don't know how you would describe
22   me?                                             22   it. A caricature of Prince Andrew that was
23      Q. Any kind of puppet?                       23   in Jeffrey's home.
24      A. You need to be more descriptive. I        24       Q. Did you use that caricature to put
25   don't know what you mean by puppet, there is    25   the hand of the caricature on Johanna




                                                                   73 (Pages 286 to 289)
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                                        Page 290                                           Page 292
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   Sjoberg's breast?                                2   recollect this caricature, you recollect
 3          MR. PAGLIUCA: Objection to the            3   Prince Andrew being there. Do you recollect
 4      form and foundation.                          4   a party going on at the time of that
 5      A. I don't recollect. I recollect the         5   interaction with Prince Andrew and the
 6   puppet but I don't recollect anything around     6   caricature?
 7   the puppet. You characterized puppet, I          7           MR. PAGLIUCA: Objection to the
 8   characterize it as, I don't know, as a           8      form and foundation.
 9   characterization of Andrew.                      9      A. I don't recollect a party -- first
10      Q. Do you recollect asking Virginia          10   of all, they weren't really parties -- I
11   Roberts to sit on Prince Andrew's lap with      11   don't recollect a party -- I don't know what
12   the caricature of Prince Andrew?                12   you mean by party in the context of that
13      A. I do not recollect that.                  13   scenario.
14      Q. What do you remember about the            14      Q. Who do you recollect being at the
15   caricature of the Prince Andrew caricature      15   home during the time Prince Andrew was there
16   when you were in the presence of Prince         16   with this caricature?
17   Andrew, Virginia Roberts and Johanna Sjoberg?   17           MR. PAGLIUCA: Objection to the
18          MR. PAGLIUCA: Objection to the           18      form and foundation.
19      form and foundation.                         19      A. I only recollect myself with Prince
20      A. I don't recollect the story as told       20   Andrew, I don't recollect anybody else.
21   by Johanna or Virginia. I don't even know       21      Q. You don't recollect Jeffrey Epstein
22   who -- I remember the caricature of Prince      22   being there?
23   Andrew and I remember Prince Andrew but I       23      A. Actually, no.
24   don't recall anything else around the           24      Q. You don't recollect Johanna Sjoberg
25   caricature.                                     25   being there?
                                        Page 291                                           Page 293
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2       Q. Did you give it to him?                   2       A. No.
 3       A. I did not.                                3       Q. You don't recollect Virginia
 4       Q. Who gave it to him?                       4   Roberts being there?
 5       A. I don't think it was given to him         5       A. No.
 6   at all.                                          6       Q. It was just you and Prince Andrew?
 7       Q. Did he bring it?                          7       A. I am not saying it was just me and
 8       A. No.                                       8   Prince Andrew, you are asking me do you
 9       Q. Was it something that was at the          9   remember. I only remember Prince Andrew, I
10   house?                                          10   remember Prince Andrew and the caricature but
11       A. As best I recollect.                     11   I can't place the caricature and everybody
12       Q. Was it something that you saw at         12   else in the same context, the same timeframe
13   the house in advance of Prince Andrew's         13   you are asking me.
14   arrival?                                        14       Q. Would Prince Andrew typically
15       A. Again, I don't real -- I recollect       15   travel with Secret Service or some sort of
16   the caricature, I recollect Prince Andrew, I    16   security when he would come to visit you and
17   don't recollect much else around the            17   Jeffrey in New York?
18   caricature.                                     18       A. Typically he would have somebody.
19       Q. Was there a party going on in the        19       Q. Would they be in the house or
20   house at the time you recollect the             20   outside of the house? Would they usually
21   caricature?                                     21   stay in the house or outside of the house, in
22           MR. PAGLIUCA: Objection to the          22   other words guarding the doors or would they
23       form and foundation.                        23   come inside?
24       A. You have to be way more specific?        24          MR. PAGLIUCA: Objection to the
25       Q. Do you remember, you said you            25       form and foundation.




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                                       Page 302                                            Page 304
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   he and Virginia Roberts were together in the     2   Dubin a massage?
 3   presence of Prince Andrew?                       3         MR. PAGLIUCA: Objection to the
 4          MR. PAGLIUCA: Objection to the            4      form and foundation.
 5      form and foundation.                          5      A. I didn't know that she did say
 6      A. I can't speak to what Jeffrey would        6   that.
 7   say.                                             7      Q. Do you know whether Jeffrey Epstein
 8      Q. Has he talked to about Virginia            8   has ever sent anybody to Glenn Dubin to
 9   Roberts' statement that she was in the           9   perform a massage for him?
10   presence of Prince Andrew?                      10         MR. PAGLIUCA: Objection to the
11          MR. PAGLIUCA: Objection to the           11      form and foundation.
12      form and foundation.                         12      A. I couldn't possibly recollect
13      A. I have not discussed individual           13   whether he did anything like that.
14   presences with Virginia. That's not -- I'm      14      Q. Did you ever send anybody, not
15   only concerned with what I know to be the       15   Virginia, anybody else over to Glenn Dubin's
16   stuff about me. So my focus has always been     16   home for a massage?
17   the lies and the obvious lies as something I    17      A. Not to the best of my knowledge.
18   can personally attest to. I cannot possibly     18      Q. Do you know one of Alexander
19   talk for anything else.                         19   Dixon's friend by the name of Anuska
20      Q. Has Jeffrey Epstein said to you           20   DiGeorgio?
21   anything along the lines of Virginia is lying   21      A. I do recollect a person of that
22   when she says she met Prince Andrew?            22   name.
23          MR. PAGLIUCA: Objection to the           23      Q. How do you know her?
24      form and foundation.                         24      A. I don't recollect.
25      A. Again, I'm not talking about what         25      Q. Did you meet her through Jeffrey?
                                       Page 303                                            Page 305
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   she says as regards to other people. I can       2       A. I don't recollect.
 3   talk to things as regards to me.                 3       Q. Do you recall when you met her?
 4       Q. I'm asking if Jeffrey ever said           4       A. I do not recollect.
 5   that to you?                                     5       Q. How many times have you seen Anuska
 6       A. I don't recollect specific                6   DiGeorgio in your life?
 7   conversations along those things.                7       A. The only reason I remember is
 8       Q. You don't recollect him saying that       8   because it's an unusual name but I couldn't
 9   to you?                                          9   tell you anything else.
10       A. I don't recollect him saying to me       10       Q. You didn't see her on a regular
11   that Virginia didn't meet Prince Andrew. I'm    11   basis, she wasn't one of your friends?
12   sure that wouldn't be a conversation that we    12       A. No.
13   would have. It doesn't effect me whether --     13       Q. Was Anuska DiGeorgio a masseuse?
14   so I'm really only concerned about the lies     14       A. Not to my knowledge.
15   that were told as regards to me.                15       Q. Do you have knowledge of whether
16       Q. Can Jeffrey Epstein confirm or deny      16   she had a sexual relationship with Jeffrey
17   whether you sent Virginia to give Glenn Dubin   17   Epstein?
18   a massage?                                      18       A. I have no knowledge of that.
19          MR. PAGLIUCA: Objection to the           19       Q. When was the last time you spoke
20       form and foundation.                        20   with her?
21       A. I can't say what Jeffrey would say,      21       A. A very long -- I have no idea.
22   I can tell you I didn't. I can't tell you       22       Q. Would it be years?
23   what anybody else.                              23       A. Yes.
24       Q. Have you discussed with him              24       Q. What do you remember about Anuska
25   Virginia's allegation that she gave Glenn       25   DiGeorgio?




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                                       Page 306                                             Page 308
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2       A. Nothing really.                           2   massages from her.
 3       Q. Do you remember what she looks            3      Q. Did you ever have any sexual
 4   like?                                            4   interaction with her?
 5       A. I would just be speculating on how        5          MR. PAGLIUCA: Object to the form
 6   I remember. I couldn't describe her.             6      and foundation and I'm going to instruct
 7       Q. Do you recall traveling with her?         7      you if we're talking about any
 8       A. I don't.                                  8      consensual adult contact, you are not
 9       Q. Did you ever go to her home?              9      allowed to answer the question.
10       A. I don't believe I did.                   10      Q. Did you have any sexual contact
11       Q. Do you know where she lives?             11   with her in the presence of Jeffrey Epstein?
12       A. I don't.                                 12          MR. PAGLIUCA: Same instruction.
13       Q. Would you have met her through           13      Q. Did you have any sexual contact
14   Jeffrey Epstein?                                14   with her in the presence of anybody other
15          MR. PAGLIUCA: Objection to the           15   than Jeffrey Epstein?
16       form and foundation.                        16          MR. PAGLIUCA: Same instruction.
17       A. I already testified I don't              17      Q. How many massages did you receive
18   recollect how I met her and I remember her      18   from Johanna?
19   because her name is very unusual.               19      A. I really don't recall but a fair
20       Q. So what's your -- what recollection      20   amount.
21   do you have of her, do you have a specific      21      Q. Did the massages involve sex?
22   recollection of meeting her somewhere, you      22          MR. PAGLIUCA: I'm going to
23   just don't know when that was or how do you     23      instruct you not to answer.
24   know that name Anuska DiGeorgio?                24      Q. Have you ever engaged in sex with
25          MR. PAGLIUCA: Objection to the           25   any female?
                                       Page 307                                             Page 309
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2       form and foundation.                         2           MR. PAGLIUCA: I'm going to
 3       A. I don't know why the name is -- I'm       3       instruct you not to answer.
 4   sorry -- I can't -- I have no idea. I            4           MS. McCAWLEY: I want the record to
 5   recognize the name but that's it.                5       reflect that Ms. Maxwell's attorney is
 6       Q. Was Johanna Sjoberg a masseuse?           6       directing her not to answer this series
 7          MR. PAGLIUCA: Objection to the            7       of questions.
 8       form and foundation.                         8           MR. PAGLIUCA: It definitely does.
 9       A. What are you asking me, I'm sorry?        9       Q. Were you responsible for
10       Q. When Johanna Sjoberg worked for          10   introducing Anuska to Jeffrey Epstein?
11   Jeffrey Epstein, did she perform massages?      11           MR. PAGLIUCA: Objection to the
12       A. I've testified that when Johanna         12       form and foundation.
13   came originally, she came to answer             13       A. I already testified that I don't
14   telephones. I believe at some point she         14   really recall Anuska.
15   became a masseuse. I don't recollect when       15       Q. Were you responsible for
16   and I personally had massages from Johanna.     16   introducing Johanna to Jeffrey Epstein?
17       Q. What did Johanna do for Jeffrey          17           MR. PAGLIUCA: Objection to the
18   Epstein, did she perform massages, anything     18       form and foundation.
19   else?                                           19       A. Again, I don't like the
20          MR. PAGLIUCA: Objection to the           20   characterization of introduction. Johanna
21       form and foundation.                        21   came to answer telephones.
22       A. When she came she answered phones        22       Q. When did you -- were you the person
23   and at some point, I believe, I don't have      23   who brought or introduced or met Johanna for
24   any firm recollection, but I believe she went   24   purposes of bringing her to Jeffrey Epstein's
25   to school and became a masseuse and I had       25   home?




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                                       Page 310                                             Page 312
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2          MR. PAGLIUCA: Objection to the            2      Q. Would you visit more than one
 3       form and foundation.                         3   university to try to find individuals to work
 4       A. That's not how I would characterize       4   for Jeffrey Epstein?
 5   that.                                            5      A. As I recollect, I think that's, in
 6       Q. How would you characterize it?            6   fact, the only university I went to.
 7       A. I have testified that I'm                 7      Q. Did you go there more than once?
 8   responsible for finding professional people      8      A. I think I went twice.
 9   to work in the homes, age appropriate adult      9      Q. Who else did you find from that
10   people, so from pool attendants, to             10   university, was there anybody other than
11   gardeners, to chefs, to housekeepers, to        11   Johanna?
12   butlers, to chauffeurs and one of the           12      A. I don't recollect, I'm sorry.
13   functions was to be able to answer the          13      Q. We are going to mark this as
14   telephones and in the context of finding        14   Maxwell 13?
15   someone to answer the telephones, I did look    15          (Maxwell Exhibit 13, documents,
16   to try to find appropriate people to answer     16      marked for identification.)
17   the phones.                                     17      Q. Can you take a look at the document
18       Q. So did you find Johanna for              18   I put in front of you, please.
19   purposes of that role?                          19          Are you familiar with this
20       A. So in the course of looking for          20   document?
21   somebody to answer phones at the house,         21      A. I'm familiar with this actual
22   Johanna was one of the people who said that     22   document.
23   she was willing to answer phones.               23      Q. How was this document created?
24       Q. Did you approach her at her school       24          MR. PAGLIUCA: Objection to the
25   campus?                                         25      form and foundation.
                                       Page 311                                             Page 313
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2          MR. PAGLIUCA: Objection to form           2       A. I don't know how this document was
 3      and foundation.                               3   created.
 4      A. I honestly don't recall how, in            4       Q. You were involved in the creation
 5   that moment, how I met Johanna and how she       5   of this document?
 6   came to get the job but...                       6       A. I think you can see from the date
 7      Q. Did you typically, in your work for        7   that it's 2004, 2005, so no.
 8   Jeffrey Epstein, would you typically go to       8       Q. You weren't involved in the
 9   school campuses to try to find individuals to    9   creation of this document.
10   work for Jeffrey Epstein?                       10           Did you -- we talked earlier about
11          MR. PAGLIUCA: Objection to the           11   Mr. Epstein's house, I'm talking about the
12      form and foundation.                         12   Palm Beach house where you said there was a
13      A. I never -- what do you mean by            13   computer on the desk, that employees had
14   school? Let's characterize school.              14   access to -- people who worked for Jeffrey
15      Q. Any kind of school.                       15   Epstein may have had access to?
16      A. Obviously not. I never went to any        16       A. I think anybody could have had
17   school with young people. Johanna, I believe    17   access to that.
18   came from an adult university, as I would       18       Q. Was that computer used, if you know
19   know in England, so university, I went there    19   to keep a log of addresses and phone contact
20   but I never went, as I best recollect,          20   information for Jeffrey Epstein?
21   anywhere else.                                  21       A. Are we talking about when this
22      Q. Did you -- what university was it         22   document was created.
23   that you went to?                               23       Q. In general, was there, on that
24      A. I don't recall the university that        24   computer during the time that you were
25   she went to right now.                          25   present with Jeffrey Epstein, was there a




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                                       Page 314                                            Page 316
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   mechanism by which you kept electronic           2       form and foundation.
 3   information of names and addresses of            3       Q. Was there a hard copy book as well
 4   individuals that he knew?                        4   as something on the computer or was there
 5          MR. PAGLIUCA: Objection to the            5   only electronic information on the phone
 6      form and foundation.                          6   numbers?
 7      A. I can't testify to what was on that        7          MR. PAGLIUCA: Objection to the
 8   computer or not after I was gone.                8       form and foundation.
 9      Q. Not when you were gone, when you           9       A. I can only testify to what I know
10   were there. If Jeffrey wanted to call, for      10   obviously, and I believe that this is a copy
11   example, say Les Wexner, would someone be       11   of a stolen document. I would love to know
12   able to go to that computer to pull up the      12   how you guys got it.
13   address information and phone contact           13       Q. I'm asking during the time you
14   information for that individual?                14   worked for Jeffrey Epstein, was there a
15          MR. PAGLIUCA: Objection to the           15   hardcopy document of any kind that kept phone
16      form and foundation.                         16   numbers for Jeffrey Epstein, if he needed to
17      A. I couldn't possibly say.                  17   contact someone?
18      Q. Did you ever have to keep track of        18       A. The stolen document I have in front
19   address or phone contact information for        19   of me that you have is what you are referring
20   Jeffrey Epstein?                                20   to.
21      A. That was not my job.                      21       Q. So there was, during your time when
22      Q. Did you ever do it?                       22   you were there, there was no other, you
23      A. I am not responsible for keeping          23   mentioned there was information on a
24   his numbers so that wasn't my job at all.       24   computer. Was there any hardcopy document
25      Q. But did you ever do it? I know            25   that you could refer to to find someone's
                                       Page 315                                            Page 317
 1         G Maxwell - Confidential                   1         G Maxwell - Confidential
 2   it's not your job but did you ever do it, did    2   number?
 3   you ever keep phone contact information for      3       A. You have the stolen document in
 4   him?                                             4   front of you.
 5       A. During the course of the time we          5       Q. You had access to this when you
 6   were together, if he gave me a telephone         6   worked for Jeffrey Epstein?
 7   number, I would give it to an assistant to       7       A. This is, I believe, the book that
 8   put in the computer, I could do that.            8   was stolen, that was the hardcopy of whatever
 9       Q. Would he ask you for contact              9   was there.
10   information for different individuals, if he    10       Q. So when you were working for
11   wanted to contact someone?                      11   Jeffrey Epstein, you were able to access this
12          MR. PAGLIUCA: Objection to the           12   book?
13       form and foundation.                        13       A. This book -- if this is what this
14       A. In the course of the long period of      14   is, I believe it was, this is the stolen
15   time when I was there, it certainly would be    15   document from his house.
16   possible for him to ask me for a telephone      16       Q. And you were able to access it when
17   number and if I had the -- I wouldn't always    17   you worked for him?
18   have it -- I'm sure it happened.                18       A. It was a document that was printed
19       Q. Was there a hardcopy book in             19   that you could, if you needed to, look for a
20   addition to the computer, a hardcopy book       20   number.
21   that you could look for numbers that were       21       Q. Do you know how this book was
22   relevant to Jeffrey Epstein's life and          22   created?
23   something on the computer or was it just an     23       A. No.
24   electronic version?                             24       Q. When you referred to it a moment
25          MR. PAGLIUCA: Objection to the           25   ago, to a stolen document, when Alfredo




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                                       Page 318                                             Page 320
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   Rodriguez turned this document over to the       2   2004, 2005, so, no.
 3   FBI, are you aware he described it as a          3      Q. But I'm sorry, correct me if I'm
 4   document that came from your computer?           4   misunderstanding your testimony, I thought
 5          MR. PAGLIUCA: Objection to the            5   you said when you were working with Jeffrey,
 6      form and foundation.                          6   that this document existed and it was
 7      A. I have no idea what he said or             7   something you utilized?
 8   didn't say, so if you want me to reference       8      A. I can't possibly tell you what
 9   something he said, you need to show it to me.    9   numbers were added or not added subsequent to
10      Q. Did you keep this document, an            10   my departure.
11   electronic copy of it, on your personal         11      Q. So you can't recall if you added
12   computer?                                       12   any of these numbers?
13      A. I don't recollect.                        13          MR. PAGLIUCA: Objection to the
14      Q. If you had to update something, for       14      form and foundation, mischaracterizes
15   example, if there was a new number, a new       15      the witness' testimony.
16   individual that Jeffrey had hired that you      16      Q. Are there any numbers on here or
17   were going to track, would you input that       17   names that you recognize that you would have
18   information into this document on your          18   entered into this section?
19   computer?                                       19      A. I already testified that I'm not
20          MR. PAGLIUCA: Objection to the           20   responsible for inputting numbers and names
21      form and foundation.                         21   into this so I would not be able to tell you.
22      A. I've already testified that I'm not       22      Q. Are there any names or numbers
23   responsible for updating and keeping these      23   under this section, Massage Florida, that you
24   records.                                        24   would have provided to an assistant to input
25      Q. Did you have this document on your        25   into this document?
                                       Page 319                                             Page 321
 1       G Maxwell - Confidential                     1        G Maxwell - Confidential
 2   computer, your personal computer?                2      A. I can't possibly say.
 3      A. I told you, I don't recollect              3      Q. Do you see under Massage Florida,
 4   having this document on my computer.             4   about halfway down the first column, do you
 5      Q. Do you know what computers this            5   see a number that says Johanna's cell?
 6   document was on, if more than one?               6          MR. PAGLIUCA: What page?
 7      A. I'm sorry, this is a long time ago         7      Q. It's 91, Bates number 001663.
 8   and I don't recall exactly how this was all      8   About halfway down, it says in the first
 9   managed.                                         9   column, it says Johanna's cell.
10      Q. If you didn't create this document,       10          Do you see that?
11   do you know who did?                            11      A. I do.
12          MR. PAGLIUCA: Objection to the           12      Q. Would you have provided after, I
13      form and foundation.                         13   know you didn't hire her, Jeffrey hired her
14      A. I don't.                                  14   but after you brought her to Jeffrey, would
15      Q. I'm going to direct your attention        15   you have given her cell phone number to an
16   to part of this document. It's towards the      16   assistant to input into this document?
17   back, it's going to be page 91 and it has       17          MR. PAGLIUCA: Objection to form
18   bates label Giuffre 001663. I'm going to        18      and foundation.
19   direct your attention to the section that       19      A. I didn't bring her to Jeffrey, the
20   says, Massage Florida.                          20   way you characterize and I would have no
21          Did you input any of the names or        21   knowledge of how this number ended up in this
22   numbers under that section?                     22   book.
23          MR. PAGLIUCA: Objection to form          23      Q. I believe you, and I will try to
24      and foundation.                              24   use your words so we are clear, you met
25      A. So this document is produced in           25   Johanna, is that correct?




                                                                   81 (Pages 318 to 321)
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                                       Page 322                                             Page 324
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2      A. Yes.                                       2   number of masseuses listed under the Florida
 3      Q. And then she began working for             3   massage section?
 4   Jeffrey?                                         4       A. When I was there, I would have, of
 5      A. Yes.                                       5   course there would have been some masseuses
 6      Q. Would you have provided whomever           6   listed but I could not tell you who or how
 7   was in charge of keeping this updated with       7   many and this -- I could not possibly because
 8   Johanna's cell number so you would be able to    8   I wouldn't remember.
 9   contact her if needed?                           9       Q. Do you know why Jeffrey would have
10          MR. PAGLIUCA: Objection to the           10   had so many names listed under his massage
11      form and foundation.                         11   Florida?
12      A. I don't know. It could have been a        12          MR. PAGLIUCA: Objection to form
13   number of different ways, it it could have      13       and foundation.
14   been Jeffrey who gave it to somebody.           14       A. I can't testify to why Jeffrey has
15      Q. You just don't remember doing that?       15   so many.
16      A. I do not.                                 16       Q. Did he use a different masseuse
17      Q. Now, as you look -- I want you to         17   every day?
18   take a look at the Florida massage list, it's   18          MR. PAGLIUCA: Objection to the
19   three columns there.                            19       form and foundation.
20          Do you, as you look at those names       20       Q. You can answer.
21   on the various columns, do you know the ages    21       A. When I was there he had a massage
22   of any of the girls in this list?               22   roughly every day, one masseuse, and mostly
23      A. I don't know. One, I don't know           23   he would have them at random times, so it
24   who all the people are on this list and I       24   would be difficult if you just only had one
25   certainly don't know the ages.                  25   person, man, woman, for an adult massage, to
                                       Page 323                                             Page 325
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2      Q. Do you know what their                     2   come and be available for whatever time it
 3   qualifications are?                              3   was. So he would have more than one person
 4      A. I don't know who the people are in         4   that he could call for a massage because at
 5   general so of course I don't know what their     5   any given time the one that he called first
 6   qualifications are.                              6   may not have been available.
 7      Q. Do you know why Jeffrey has so many        7       Q. So would it typically be a
 8   masseuses listed in Florida in his book here?    8   different person each day that would give him
 9          MR. PAGLIUCA: Objection to the            9   a massage?
10      form and foundation.                         10          MR. PAGLIUCA: Objection to the
11      A. Again, this book was created post         11       form and foundation.
12   my departure, so I couldn't explain why all     12       A. It would be, when I was there,
13   these people were here.                         13   based on availability.
14      Q. When you were there, you said this        14       Q. Would it surprise you to learn that
15   book existed?                                   15   the Federal Government found that some of the
16      A. Yes.                                      16   girls on this list under massage Florida were
17      Q. So when you were there, were there        17   under the age of 18?
18   a number of masseuses listed under the          18          MR. PAGLIUCA: Objection to the
19   Florida massage?                                19       form and foundation.
20          MR. PAGLIUCA: Objection to the           20       A. I can't testify to what the
21      form and foundation and                      21   government found or did not find because I
22      mischaracterization of the witness'          22   would have no knowledge of it.
23      testimony.                                   23       Q. I'm asking if you would be
24      Q. I'm asking you a question.                24   surprised by that?
25          When you were there, were there a        25          MR. PAGLIUCA: Form and foundation.




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                                      Page 326                                              Page 328
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2      A. I have knowledge of it. I can't            2   around. I can't testify to that.
 3   speculate.                                       3      Q. Were you around in 2004, 2005?
 4      Q. On the second column, towards the          4      A. I already testified that I was
 5   bottom, there is the name, it's one up from      5   there when Jeffrey's mother passed away and
 6   the bottom, there is the name Gwendolyn Beck,    6   so you know, I did visit for her passing and
 7   do you know Gwendolyn Beck?                      7   I believe I was there for a couple of days in
 8      A. I do.                                      8   2005.
 9      Q. Who is she?                                9      Q. So if an employee of Mr. Epstein in
10      A. She was a friend of Jeffrey's.            10   2004 said that you were the employee's direct
11      Q. Is she a masseuse?                        11   supervisor, would that be incorrect?
12      A. She, I don't think she was a              12          MR. PAGLIUCA: Objection to form
13   masseuse, no.                                   13      and foundation.
14      Q. Why would be she listed under             14      A. What employee, what's the
15   Florida massages?                               15   circumstances and what is the story, I don't
16      A. An input error.                           16   know what you are asking me.
17      Q. Is this list any individual that          17      Q. If Alfredo Rodriguez said in 2004
18   would have sex with Jeffrey?                    18   when he was hired, you were his direct
19         MR. PAGLIUCA: Objection to the            19   supervisor, would that be true?
20      form and foundation.                         20      A. No.
21      A. I wouldn't have any knowledge of          21      Q. Were you in 2004 supervising Sarah
22   that.                                           22   Kellen?
23      Q. Do you know if Jeffrey had sex with       23          MR. PAGLIUCA: Objection to form
24   Gwendolyn Beck?                                 24      and foundation.
25         MR. PAGLIUCA: Object to the form          25      A. I never supervised Sarah Kellen.
                                      Page 327                                              Page 329
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2       and foundation.                              2      Q. Did Sarah Kellen take orders from
 3       A. First of all, I wouldn't have any         3   you?
 4   knowledge of that.                               4          MR. PAGLIUCA: Objection to the
 5          MS. McCAWLEY: We are going to take        5      form and foundation.
 6      a quick break.                                6      A. She worked for Jeffrey.
 7          THE VIDEOGRAPHER: It's now 4:39           7      Q. If Alfredo Rodriguez said you had
 8       and we are off the record.                   8   knowledge of underage girls coming to
 9          (Recess.)                                 9   Jeffrey's home for the purpose of sex, would
10          THE VIDEOGRAPHER: It's now 4:54          10   you contend that that is truthful?
11       and we are as back on the record            11          MR. PAGLIUCA: Objection to the
12       starting disk number 8.                     12      form and foundation of the question.
13       Q. Ms. Maxwell, we were talking             13      A. I have no idea what you are talking
14   earlier about the journal and I believe you     14   about, I'm sorry.
15   said in 2004, 2005, you were no longer          15      Q. If Alfredo Rodriguez said that you
16   working and responsible for that journal, is    16   have knowledge of underage girls coming to
17   that correct?                                   17   Jeffrey's home for the purpose of having
18          MR. PAGLIUCA: Objection to the           18   massages involving sex, would you say that
19       form and foundation.                        19   that statement is truthful?
20       A. What are we referring to, this           20          MR. PAGLIUCA: Objection to the
21   document right here?                            21      form and foundation.
22       Q. Yes.                                     22      A. I can't testify to what Alfredo
23       A. I don't know who is the author of        23   said or didn't say.
24   this or I can't tell you what is in here        24      Q. I'm saying if Alfredo said that you
25   versus what would have been here when I was     25   had knowledge that there were girls coming




                                                                   83 (Pages 326 to 329)
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                                      Page 330                                              Page 332
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   over to the house that were underage for the     2   of this document being on it, so I don't know
 3   purposes of sex, would that statement be         3   where this came from.
 4   true?                                            4       Q. I understand the computer at the
 5          MR. PAGLIUCA: Objection to form           5   house that you're referencing. On a personal
 6       and foundation.                              6   computer of yours, did you have that
 7       A. I can't testify to what Alfredo           7   document?
 8   said or didn't say or what he thought.           8       A. I don't know where this document
 9       Q. Did you have knowledge of underage        9   came from, so I can't possibly say this
10   girls coming to Jeffrey Epstein's house for     10   document was on any computer that I may have
11   the purpose of sex?                             11   had access to.
12       A. No.                                      12       Q. On a personal computer of your own,
13       Q. Earlier I believe you testified,         13   did you have lists of the phone numbers and
14   correct me if I'm wrong, that the document      14   contact information relating to Jeffrey
15   that is in front of you, the thicker document   15   Epstein?
16   was a stolen document.                          16       A. Like everybody, I have an address
17          Do you know who stole that               17   book but I can't possibly testify to where
18   document?                                       18   this thing came from.
19       A. I have read that Alfredo stole the       19       Q. Was it your address book or was it
20   document.                                       20   addresses that related to Jeffrey Epstein?
21       Q. And where have you read that?            21          MR. PAGLIUCA: Objection to the
22       A. I believe it was reported in the         22       form and foundation.
23   press.                                          23       A. I don't know what you're asking me.
24       Q. Earlier we were talking about the        24       Q. On your personal computer, the
25   computers at Jeffrey Epstein's home. Did you    25   address book you are referencing, was it your
                                      Page 331                                              Page 333
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   have a computer that was your computer           2   address book with individuals you knew or was
 3   located in Jeffrey Epstein's home?               3   it an address book for your employer, Jeffrey
 4         MR. PAGLIUCA: Objection to form            4   Epstein?
 5      and foundation.                               5       A. Jeffrey has his situation and I
 6      A. I've testified to the computer             6   have no -- this is Jeffrey's, it came from
 7   already. Even when I was around, there was a     7   his home, so I can't testify to anything
 8   computer that people had access to.              8   about this in that period of time.
 9      Q. So is Alfredo Rodriguez telling the        9       Q. So you didn't have on your computer
10   truth when he says that he downloaded that      10   a list of contact information for individuals
11   book from your computer?                        11   that was related to Jeffrey Epstein?
12         MR. PAGLIUCA: Objection to the            12       A. I don't recall exactly what I had
13      form and foundation.                         13   back in 2004 and 2005, so I can't say what I
14      A. I couldn't possibly tell you what         14   had back then that relates to his addresses,
15   Alfredo did or didn't do or said or didn't      15   I can't recall.
16   say.                                            16       Q. So is it possible that someone
17      Q. Was it on your computer?                  17   could have downloaded from your personal
18      A. I already testified I have no idea        18   computer a list of names and address that
19   where this document came from.                  19   were affiliated with Jeffrey Epstein?
20      Q. Did you have a list of names of           20           MR. PAGLIUCA: Objection to the
21   individuals with contact information for        21       form and foundation.
22   Jeffrey Epstein on your personal computer?      22       A. This didn't come from any computer
23      A. Again, that wasn't my computer. I         23   of mine.
24   already said that was a computer that lots of   24       Q. But is it possible that someone
25   people would have, so I have no recollection    25   could have downloaded a list of names and




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                                       Page 334                                             Page 336
 1         G Maxwell - Confidential                   1        G Maxwell - Confidential
 2   addresses affiliated with Jeffrey Epstein        2   reference to this case with any, anything you
 3   from your computer?                              3   just mentioned, I never threatened anyone.
 4           MR. PAGLIUCA: Objection to the           4      Q. Have you ever directed anyone to
 5       form and foundation.                         5   call any witnesses relevant to this case and
 6       A. I already said, I didn't have a           6   threaten them not to testify?
 7   computer there, so I don't know where this       7          MR. PAGLIUCA: Objection to the
 8   came from, I have no idea.                       8      form and foundation.
 9       Q. I'm going to read to you some             9      A. I never done such a thing.
10   testimony from Alfredo Rodriguez's deposition   10      Q. Did Jeffrey Epstein or you ever ask
11   and it's on page 370 and I want to ask you a    11   any female, regardless of age, to carry
12   question about it, if it's true or false?       12   Jeffrey's baby for him?
13           MR. PAGLIUCA: I'm going to object       13          MR. PAGLIUCA: Objection to the
14       unless you show the witness the             14      form and foundation.
15       document.                                   15      Q. Or anything along those lines?
16           MS. McCAWLEY: I will pass it. We        16          MR. PAGLIUCA: Objection to the
17       are not going to mark it. We will skip      17      form and foundation.
18       it.                                         18      A. Can you repeat the question,
19       Q. Did you ever tell Alfredo Rodriguez      19   please?
20   that he better watch out and better keep his    20      Q. Did you or Jeffrey Epstein ever ask
21   mouth shut with respect to what occurred at     21   any female, regardless of age, to carry
22   Mr. Epstein's home?                             22   Jeffrey Epstein's baby for him?
23           MR. PAGLIUCA: Objection to the          23          MR. PAGLIUCA: Objection to the
24       form and foundation.                        24      form and foundation.
25       A. It doesn't sound like anything I         25      A. Are you asking --
                                       Page 335                                             Page 337
 1        G Maxwell - Confidential                    1        G Maxwell - Confidential
 2   would say.                                       2      Q. To become pregnant, did you or
 3       Q. Did you ever threaten Alfredo             3   Jeffrey Epstein ever ask any female to become
 4   Rodriguez in any way if he were to disclose      4   pregnant and carry Jeffrey Epstein's baby for
 5   information he learned from his employment       5   you or for Jeffrey?
 6   with Jeffrey Epstein?                            6          MR. PAGLIUCA: Objection to form
 7          MR. PAGLIUCA: Objection to the            7      and foundation.
 8       form and foundation.                         8      A. You need to be very specific. I
 9       A. I'm happy to answer. No, I never          9   have no idea what you are talking about.
10   threatened him in any way.                      10   That's completely rubbish.
11       Q. Were you concerned that he was           11      Q. Did you or Jeffrey Epstein ask any
12   going to disclose that Jeffrey Epstein was      12   female to become pregnant and carry his baby
13   trafficking underage girls?                     13   for either him or you?
14          MR. PAGLIUCA: Objection to the           14          MR. PAGLIUCA: Objection to the
15       form and foundation.                        15      form and foundation. Go ahead.
16       A. First of all, there are so many          16      A. I can't testify to anything Jeffrey
17   things wrong with that question, but I have     17   did or didn't do when I am not present, but I
18   no knowledge of what you are talking about.     18   have never asked anybody to carry a baby for
19       Q. Have you ever contacted or               19   me.
20   instructed anyone to contact any witness in     20      Q. Or anything along those lines?
21   this case for the purposes of threatening       21          MR. PAGLIUCA: Object to the form
22   them not to testify in this case?               22      and foundation.
23          MR. PAGLIUCA: Objection to the           23      Q. I want to make sure we are talking
24       form and foundation.                        24   about the same thing, not physically carry a
25       A. I have never called anybody with         25   baby, I mean become pregnant with a baby?




                                                                   85 (Pages 334 to 337)
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                                          Page 362                                                 Page 364
 1        G Maxwell - Confidential                        1        G Maxwell - Confidential
 2
 3
 4
 5
 6
     lawsuit, is that correct?
            MR. PAGLIUCA: Objection to the
        form and foundation.
        A. I have legal advice that I took.
        Q. But you knew in early January by
                                                          2
                                                          3
                                                          4
                                                          5
                                                          6
                                                              -   Q. This email reads do you want
                                                                      , without a vowel, to come out and say
                                                              she was the girlfriend during the time.

                                                              to?
                                                                     Who was Jeffrey Epstein referring

 7
 8
 9
10
11
12
     making a statement calling Virginia a liar
     that you were subjecting yourself to a legal
     dispute with her?
            MR. PAGLIUCA: Objection to the
        form and foundation.
        A. I took legal advice as to what
                                                          7
                                                          8
                                                          9
                                                         10
                                                         11
                                                         12
                                                              --  A. I believe he was referring to



                                                              girlfriend?
                                                                            .
                                                                  Q. Why was he asking you if you wanted
                                                                              to come out and say she was the

                                                                     MR. PAGLIUCA: Objection to the
13   should be said and not be said and the legal        13       form and foundation.
14   advice that came from the United Kingdom            14       A. The way the press and you were
15   was --                                              15   characterizing me is I was with Jeffrey
16          MR. PAGLIUCA: You are not allowed            16   throughout this entire period of time and I
17
18
19
20
        to talk about any legal advice that you
        got from anybody that's a lawyer.
        A. Sorry.
        Q. So is it correct without telling me
                                                         17
                                                         18
                                                         19
                                                         20
                                                              was not.
                                                                  Q. Was
                                                                          -
                                                              period of time?
                                                                                   with Jeffrey during this

                                                                  A. I believe she was.
21
22
23
24
25
     what you talked to your lawyers about that
     you knew because this is dated January 10
     that when you made this statement in early
     January, January 2 of 2015 you knew that
     calling Virginia a liar would subject you to
                                          Page 363
                                                         21
                                                         22
                                                         23
                                                         24
                                                         25
                                                              press it was
                                                                          -
                                                                  Q. Did Jeffrey come out and tell the
                                                                                   and not you that was with
                                                              him as he is proposing here?
                                                                  A. I don't believe he did.
                                                                  Q. Did you want him to do that?
                                                                                                   Page 365
 1         G Maxwell - Confidential                       1        G Maxwell - Confidential
 2   a legal action, isn't that correct?                  2       A. No, I didn't ask him to do
 3           MR. PAGLIUCA: Objection to the               3   anything. No.
 4
 5
 6
 7
 8
         form and foundation. As to what you
         knew -- whatever she knows would be
         privileged.
             MS. McCAWLEY: I'm asking if she
         knows. I'm not asking her to tell me
                                                          4
                                                          5
                                                          6
                                                          7
                                                          8
                                                               -
                                                              was
                                                                  Q. So do you know in January of 2015,
                                                                            his girlfriend?
                                                                  A. 2015, I have no idea who was his
                                                              girlfriend in 2015.
                                                                  Q. I'm sorry, you are correct.
 9
10
11
12
13
         about her privileged communications.
         A. All I can say is I asked a question
     and received legal advice.
             (Maxwell Exhibit 18, email, marked
         for identification.)
                                                          9
                                                         10
                                                         11
                                                         12
                                                         13
                                                              - -    In the period of 1999 to 2002, was
                                                                       his girlfriend?
                                                                  A. They spent a lot of time together.
                                                                  Q. Did you talk to            about going
                                                              to the press and saying that she was the




                                                                 - -
14       Q. This is an email dated January 15,           14   girlfriend and not you?
15   2015 from Jeffrey Epstein to you?                   15       A. I have never spoken to
16       A. Uh-huh.                                      16       Q. Was             offered any money to
17
18
19
     want
          -
         Q. It states in the first line, do you
                    to come out and say she was the
     girlfriend during the time?
                                                         17
                                                         18
                                                         19
                                                              make a statement that she was the girlfriend?
                                                                     MR. PAGLIUCA: Objection to the
                                                                  form and foundation.
20
21
22
23
24
25
             MR. PAGLIUCA: Objection to the
         form and foundation of the question and
         actually the word is
         is no vowel in there.
             MS. McCAWLEY: I was just trying to
         pronounce it.
                                               , there
                                                         20
                                                         21
                                                         22
                                                         23
                                                         24
                                                         25
                                                                 -A. I have no idea. I have never
                                                              spoken to
                                                              I have no idea.
                                                                                   and I don't know anything --

                                                                     (Maxwell Exhibit 19, email, marked
                                                                  for identification.)
                                                                  Q. That's an email from Jeffrey to




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